Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 1 of 74 PagelID#: 167

EXHIBIT "A"
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 2 of 74 PageID #: 168

PART 2
 

Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 3 of 74 PageID#: 169

FILED iN CUS TEE T COURT
Cause No. CV18-00515 COOKE COUNTY. TEXAS
ISSEP 26 AN & i!
BIST Cina aedl A GILBERT
STARK RANCH-WEST, LLC * IN THE 23:

  

VS. f DISTRICT COURT OF

REDI-MIX, LLC * COOKE COUNTY, TEXAS

ORDER FOR FIRST SCHEDULING CONFERENCE

It has been brought to the Court’s attention that the Answer of the Defendant has been
filed herein:

Pursuant to Court rules, IT [IS ACCORDINGLY ORDERED that this cause is set for
a First Scheduling Conference on the 31" day of October, 2018 at 3:00 P. M.

IT IS FURTHER ORDERED deadlines for completion of discovery, designation of
experts, furnishing of reports and opinions, and impleading or joining additional parties will
be set, as well as setting the time and date for MEDIATION and for the Second Scheduling
Conference.

IT [IS FURTHER ORDERED that a litigant’s failure to appear either pro se or by
attorney may result in the non-appearing party not having input as to when MEDIATION is
ordered or the scheduling of deadlines.

IT IS FURTHER ORDERED that attendance is required unless a written Motion for
Continuance is granted.

 

ORDER FOR FIRST SCHEDULING CONFERENCE — Solo Page

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Case ‘4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 4 of 74 PagelD #: 170

JUDGE JANELLE = ac HAVERKAMP
235TH JUDICIAL: “DISTRICT COURT

 

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UIST CLERERPIARCI A GILBERT

STARK RANCH-WEST, LLC * an TA helper AL

V8, * DISTRICT COURT OF

  

REDI-MIX, LLC * COOKE COUNTY, TEXAS

ORDER FOR SECOND SCHEDULING CONFERENCE

aT
ON THIS the 3! day of Oct, b @f~ ___, AGI, this matter came on for First
Scheduling Conference and came the Plaintiff by attorney and came the Defendants by
attorney, and the Court having been advised as to the parties' requests for deadlines
and MEDIATION, orders as follows:

Each party may send one set of Interrogatories and one Request for Production
at such a time that the responses will be available before mediation;

Plaintiff may take a. depositions, prior to mediation;
Defendants may take al. depositions, prior to _

Mediation shall be completed on or before the Bk day of

The report to the Court on whether or not mediation has been successful is due
on the2.2.. day of Suter D

If mediation is not successful, then it will be the Order of the Court that:

1. That all discovery be completed by all parties yok bor IO, 2

ORDER FOR SECOND SCHEDULING CONFERENCE - Page 1 of 2

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MARCI A, GILBERT
DISTRICT CLERK
COOKE COUNTY, TEMAS
By: CODY SHIRES, Deputy

 

 

 
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 6 of 74 PagelD #: 172

2. That all required supplemental information be furnished and all experts
designated with copies of written reports or opinions submitted on the part of
Plaintiff by i" , and on the part of the

Defendants by __. - 254

3. That all additional parties be impleaded or joined on or before 30 days prior
to the Second Scheduling Conference.
4. Wa ie en is set for a Second Scheduling Conference on the | 10
AQ 1%, at {fi mo pM.

5. Both Plaintiff and Defendants appear at the Second Scheduling Conference
with authority to settle the litigation. Parties or their attorneys shall prepare
and fite with the Court a MEMORANDUM OF SETTLEMENT. This shall be a
brief one page summary of past offers and demands and outline the parties’
positions and terms for concluding this matter.

6. All pending Motions, Special Exceptions or other matters that have been
pending a sufficient length of time under the Rules of Civil Procedure will be
heard at the Second Scheduling Conference;

?. Failure of a litigant or attorney to appear at the Second Scheduling

Conference may result in the Court ruling against the non-appearing litigant
on all pending motions and may result in setting of future dates as requested

by the appearing litigant or attorney.

JUDGE PRESIDING
Lt / fi

ATTORNEY for DEFENDANTS

 

 

ORDER FOR SECOND SCHEDULING CONFERENCE - Page 2 of 2

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MARCI A. GILBERT
DISTRICT CLERK

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CAUSE NO. CV18-00515 JOCTSI PH 352

    
 

STARK RANCH-WEST, LLC § IN THE Dir OURO BER
Plaintiff, : a DEPUTY
¥. : COOKE COUNTY, TEXAS
REDI-MIX, LLC :
Defendant. : 235TH JUDICIAL DISTRICT

 

STIPULATED PROTECTIVE ORDER

 

The parties, through their undersigned counsel, stipulate and agree regarding the treatment
of certain designated confidential information and items obtained in the course of discovery in
this Action. Accordingly, the following Stipulated Protective Order is entered;

1. DEFINITIONS

(a) “Action” shall mean the instant case captioned Stark Ranch-West LLC y. Redi-
Mix LLC, Cause No. CV!8-00515, 235th Judicial District, Cooke County, Texas.

(b) “Party” or “Parties” means any or all parties to this Action (i-c., Plaintiff and/or
Defendant), and any party’s parents, subsidiaries, divisions, branches, affiliates, or predecessors
or successors-in-interest.

(c) “Non-Party” means any entity or person that is not a Party to this Action.

(d) “Disclosing Party” means a Party producing or disclosing any Protected
Information during the course of this Action.

(e) “Receiving Party” means any party to which Protected Information is produced
or disclosed, whether voluntarily or in response to formal or informal discovery requests,

subpoena, deposition notice, or court order by any Disclosing Party in this Action.

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MARCI A GILBERT
DISTRICT CLERK

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By: CODY SHIRES, Deputy

 

 
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 8 of 74 PageID#: 174

(H “Consultant” or “Consultants” means any or all persons retained by a Party in
connection with this Action, including experts, trial preparation consultants, and jury consultants,
but not employed by that Party. Consultants shall be limited to such persons as, in the judgment
of that Party’s counsel, are reasonably necessary for the development and/or presentation of that
Party’s case.

(g) “CONFIDENTIAL INFORMATION” means documents, materials and
information, regardless of the medium or manner in which it is generated, stored, or maintained,
which concern or reflect a Party or Non-Party’s tax or other financial records, confidential
business records, plans and information, and/or trade secrets. “CONFIDENTIAL
INFORMATION” does not include documents, materials, or information that are publicly
available in the same form in which they were provided.

(h) “ATTORNEYS EYES ONLY INFORMATION” means any extremely
sensitive information or item, regardless of the medium or manner in which it is generated,
stored, or maintained, the production or disclosure of which a Party or Non-Party believes in
good faith would create a substantial risk of serious harm that could not be avoided by less
restrictive means.

(i) “Protected Information” means any CONFIDENTIAL INFORMATION or
ATTORNEYS EYES ONLY INFORMATION designated in accordance with this Protective
Order.

2. SCOPE OF ORDER

(a) This Protective Order governs the handling of all Protected Information produced
or disclosed by a Disclosing Party to a Receiving Party, regardless of the medium or manner in

which the information is generated, stored, or maintained (including, among other things,

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MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 9 of 74 PagelD #: 175

documents, transcripts, interrogatory responses, responses to requests for admissions,
declarations, exhibits, and briefs, or portions of such materials). This Protective Order also
applies to any Receiving Party generated note, index, chart, or spreadsheet made with regard to
Protected Information.
(b) This Protective Order does not cover any information or items that are in the
* public domain at the time of disclosure or that become part of the public domain after their
disclosure as a result of publication not involving a violation of this Protective Order.

3. USE OF PROTECTED INFORMATION

All Protected Information shall be treated as confidential and used by counsel and the
Parties in this case solely for the litigation of this Action.

4. DESIGNATION OF PROTECTED INFORMATION

Any Party may, in good faith, designate any non-public information or items as
confidential in the following manner:

(a) Documents. Documents will be designated as Protected Information by stamping
them as “CONFIDENTIAL” or “ATTORNEYS EYES ONLY” or by clearly designating
documents as such in a separate statement.

(b) Transcripts. Information disclosed or documents referred to at the deposition of
any witnesses, including a Party or one of its present or former officers, directors, employees,
agents, or independent experts, may be designated by any Party as “CONFIDENTIAL” or
“ATTORNEYS EYES ONLY” by indicating to the other Parties which pages or portions of a
deposition transcript contain such information, as applicable. The Party wishing to designate
such material as “CONFIDENTIAL” or “ATTORNEYS EYES ONLY” must do so within thirty

(30) days after receipt of the final (not draft) transcript. Until such time as that designation is

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MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 

 
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made or the thirty (30) days expires, the whole transcript (including any drafts) and all
documents and exhibits referred to therein, and/or attached thereto, shall be deemed
“ATTORNEYS EYES ONLY.”

(c) Things. Things wil! be designated as Protected Information by affixing a label to
the exterior of the thing bearing the legend “CONFIDENTIAL” or “ATTORNEYS EYES
ONLY” as applicable. The legend will be placed directly above, below, or next to the Disclosing
Party’s production numbers to the extent possible.

({d) If any Party produces documents by making original documents available for
inspection and copying, then during the actual period of the inspection all such documents shall
be deemed “ATTORNEYS EYES ONLY” until copies are made and labeled by the Producing
Party as appropriate. The inspecting Party shall then designate the original documents for
copying, and the producing Party shall designate on the copies those documents which the
producing Party deems to be “CONFIDENTIAL” or “ATTORNEYS EYES ONLY” within the
meaning of this Protective Order. Any copies not so designated by the producing Party shall not
be deemed “CONFIDENTIAL” or “ATTORNEYS EYES ONLY” within the meaning of this
Protective Order.

(e) If material or information produced in connection with this Action contains
information concerning a Receiving Party that the Receiving Party believes should be designated
as CONFIDENTIAL or ATTORNEYS EYES ONLY, the Receiving Party may designate the
material as such by providing written notice to the Disclosing Party and all other Parties, and
such documents shall be subject to the protections stated in this Protective Order. Such
designations pursuant to this sub-paragraph are subject to the same challenges as any other

designations made pursuant to the terms of this Protective Order.

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ei ia DISTRICT CLERK
i oy f COOKE COUNTY, TEXAS

Git By: CODY SHIRES, Deputy

 

     

 
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= DISCLOSURE OF CONFIDENTIAL INFORMATION

CONFIDENTIAL INFORMATION will not be made available outside of court, nor will
the contents of such information be disclosed to non-court personnel other than the following
Qualified Persons:

(a) The Parties and their officers, agents, members (including owners, officers, and
agents of members), insurers, in-house counsel, and employees whose review of
CONFIDENTIAL INFORMATION a Party deems in good faith to be necessary (collectively,
“Authorized Recipients”).

{b) — Attorneys for the Parties and their paralegal, secretarial, and clerical staffs.

{c) Court reporters and videographers recording or transcribing testimony, the court,
and court personnel.

(d) Witnesses and deponents, including potential witnesses and potential deponents,
whose review of CONFIDENTIAL INFORMATION is in good faith deemed necessary for this
matter by any attorney in his/her sole discretion, provided that such persons are informed of and
given a copy of this Order and are informed that they must comply with it.

(e) Consultants retained by any Party and their secretarial and clerical staffs, provided
that such Consultants agree not to disclose or otherwise use such information in any matter other
than for the purpose of providing expert opinions or litigation support to the Parties in this case.

(f) Mediators, arbitrators, and any other persons providing litigation support or
services to any Party in this case, provided that such persons agree not to disclose or otherwise
use such information in any matter other than for the purpose of providing services or litigation
support to the Parties in this case.

(g) Other persons who may be designated by consent of ail attorneys of record.

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MARCIA. GILBERT
DISTRICT CLERK
. 2 COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy
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6. DISCLOSURE OF ATTORNEYS EYES ONLY INFORMATION

ATTORNEYS EYES ONLY INFORMATION will not be made available outside of
court, nor will the contents of such information be disclosed to non-court personnel other than
the following Qualified Persons:

(a) Authorized Recipients under the following conditions only: Counsel may show,
discuss and review ATTORNEYS EYES ONLY INFORMATION with Authorized Recipients,
but the Authorized Recipients may not (1) keep a copy of the ATTORNEYS EYES ONLY
INFORMATION; (2) take notes concerning the content of the ATTORNEYS EYES ONLY
INFORMATION, (3) discuss or disclose the contents of the ATTORNEYS EYES ONLY
INFORMATION with others except the Qualified Persons listed in paragraphs 6(b)-(h); or (4)
use the ATTORNEYS EYES ONLY INFORMATION for any purpose other than in connection
with the prosecution or defense of, or participation in, this litigation.

(b) Attorneys for the parties of record and their paralegal, secretarial, and clerical
staffs.

(c) Court reporters and videographers recording or transcribing testimony, the court,
and court personnel,

(d) Witnesses and deponents, including potential witnesses and potential deponents,
whose review of ATTORNEYS EYES ONLY INFORMATION is in good faith deemed
necessary for this matter by any attorney in his/her sole discretion, provided that such persons are
informed of and given a copy of this Order and are informed that they must comply with it.

{e) Consultants retained by any Party and their secretarial and clerical staffs, provided
that such Consultants agree not to disclose or otherwise use such information in any matter other

than for the purpose of providing expert opinions or litigation support to the Parties in this case.

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29} 13 DISTRICT CLERK
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2g By: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 13 of 74 PagelID #: 179

a) Mediators, arbitrators, and any other persons providing litigation support or
services to any Party in this case, provided that such persons agree not to disclose or otherwise
use such information in any matter other than for the purpose of providing services or litigation
support to the Parties in this case.

(g} | Any person identified from the four corners of the information, document, or
thing itselfas having authored or previously received the information, document, or thing.

(h) Other persons who may be designated by consent of al] attomeys of record.

7, NON-PARTY PROTECTED INFORMATION

If a Non-Party so requests, the terms of this Protective Order will be applicable to
information produced by a Non-Party in this Action and designated as CONFIDENTIAL
INFORMATION or ATTORNEYS EYES ONLY INFORMATION. Such information produced
by Non-Parties in connection with this litigation ts protected by the remedics and relief provided
by this Protective Order,

8. FILING PROTECTED INFORMATION

In the event that a Party wishes to file Protected Information with the Court, such filing
shall be made in sealed envelopes or other appropriate containers that are endorsed with the title
of this action and the words "CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER—TO
BE OPENED OR REVIWEED BY COURT PERSONNEL ONLY.” Where practical, only
those portions of documents consisting of Protected information shall be filed under seal. This
paragraph does not prohibit a Party from generally referencing documents containing Protected
Information in filings, nor does it restrict a Party’s ability to present Protected Information in

court proceedings as provided in paragraph 16.

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MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 

 
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9. PROCEDURE FOR CHALLENGING DESIGNATIONS

(a) Timing of Challenges. Any Party may challenge a confidentiality designation at
any time. Unless a prompt challenge to a Disclosing Party’s confidentiality designation is
necessary to avoid foreseeable and substantial unfairness, unnecessary economic burdens, or a
significant disruption or delay of the Action, a Party does not waive its right to challenge a
confidentiality designation by electing not to challenge the designation promptly after the
original designation.

(b) Meet_and Confer. The challenging Party will initiate the dispute resolution
process by providing written notice of each designation of Protected Information it is challenging
and describing the basis for each challenge. The Parties will attempt to resolve each challenge in
good faith and must begin the process by conferring within fourteen (14) days of the date of
service of the notice. In conferring, the challenging Party must explain the basis for its belief
that the confidentiality designation was not proper and must give the Disclosing Party an
opportunity to review the Protected Information, to reconsider the designation and, if no change
in the designation is made, to explain the basis for the designation.

(c} Judicial Intervention. If the Parties cannot resolve a challenge without Court
intervention within thirty (30) days of the initial notice, the Disclosing Party may file a motion
seeking intervention from the Court to maintain the Protected Information as CONFIDENTIAL
or ATTORNEYS EYES ONLY. If the Disclosing Party fails to file a motion for protection after
thirty (30) days of receiving the initial notice, the challenged material will be deemed not to be
Protected Information.

10. PARTY INFORMATION

Nothing in this Protective Order will limit any Disclosing Party’s use of its own Protected

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MARCI A. GILBERT
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# COOKE COUNTY, TEXAS
* By: CODY SHIRES, Deputy
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Information, nor will anything in this Protective Order prevent any Disclosing Party from
disctosing its own Protected Information to any person.

11, INADVERTENT PRODUCTION OF PRIVILEGED MATERIAL

(a) In the event of an inadvertent production or disclosure of any information that a
Party later claims should not have been produced because of a privilege, including but not
limited to the attorney-client privilege, work product doctrine, or common interest privilege
(“Inadvertently Produced Privileged Material’), the Receiving Party must promptly return,
sequester, or destroy the specified information and any copies the party has; must not use or
disclose the information; and must take reasonable steps to retrieve the information if the party
disclosed it before being notified. The inadvertent production of such material will not be
deemed to waive any privileges.

(b) A request for the return of any Inadvertently Produced Privileged Material will
identify the material inadvertently produced and the basis for withholding such material from
production. If a Disclosing Party requests the return, pursuant to this paragraph, of any
Inadvertently Produced Privileged Material then in the custody of a Receiving Party, the
Receiving Party will, within seven (7) days, return to the Disclosing Party the Inadvertently
Produced Privileged Material and all copies thereof.

(c) The Receiving Party returning such Inadvertently Produced Privileged Material
will not assert as a ground for entering an order compelling production of the Inadvertently
Produced Privileged Material the fact or circumstances of the inadvertent production. The return
of any Inadvertently Produced Privileged Material will not in any way preclude the Receiving
Party from moving the Court for an order that: (i) the material is not privileged or otherwise

immune from disclosure; or (ii) that any applicable privilege or immunity has been waived by

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DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 

 
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some act other than the inadvertent production of this information. The burden of establishing a
privilege is on the Disclosing Party producing the information.

12, INADVERTENT DISCLOSURE OF PROTECTED INFORMATION

The inadvertent failure to designate Protected Information does not, standing alone,
waive the Disclosing Party’s right to secure protection under this Protective Order for such
material. Upon timely correction of a designation within sixty (60) days of the inadvertent
disclosure, the Receiving Party must make reasonable efforts to assure that the material is treated
in accordance with the provisions of this Protective Order to the extent practicable. The
Receiving Party will use its best efforts to obtain all disclosed copies of such information and
advise the Disclosing Party of the identity of any persons to whom such information is disclosed
who would net be entitled to receive such information under this Protective Order.

13. DURATION OF PROTECTIVE ORDER

(a) The obligations imposed by this Protective Order will remain in effect beyond the
final disposition of this Action and until (i) a Disclosing Party agrees otherwise in writing, or (ii)
a court order otherwise directs. Final disposition will be deemed to be the later of (1) dismissal
of all claims and defenses in this Action, with or without prejudice; and (ii) Final Judgment
herein after the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews
of this Action, including the time limits for filing any motions or applications for extension of
lime pursuant to applicable law.

(b) In the event that any Qualified Person ceases to be affiliated with a Disclosing
Party, the provisions of this Protective Order will remain in full force and effect as to such
Qualified Person, except that such person will immediately cease to have access to Protected

Information and will immediately return all Protected Information to the Disclosing Party.

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MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 

 
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14. RETURN OR DESTRUCTION OF PROTECTED INFORMATION

(a) Upon final disposition of this Action (including a final appeal), each Party and
Non-Party subject to the terms of this Protective Order wil! return to each Disclosing Party all
originals and reproductions of any Protected Information within sixty (60) days. In lieu of
returning Protected Information, a Party may destroy all such material within sixty (60) days,
provided the Party electing to undertake such destruction certifies to the Disclosing Party in
writing that it has destroyed al! such material.

(b) All Qualified Persons who have been privy to Protected Information shall, even
after resolution of the litigation, be under a continuing duty not to reveal such information.

(c) Notwithstanding this paragraph, counsel for a Receiving Party may retain an
archival copy of al! pleadings, motion papers, trial, deposition, and hearing transcripts, legal
memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work product,
and consultant and expert work product even if such materials contain Protected Information.
Any such archival copies remain subject to this Order.

15. MODIFICATION OF AGREEMENT AND NO WAIVER

Any Party may seek to modify, expend, cancel, or supersede this Protective Order by
stipulation of the Parties or by motion on notice. Nothing herein shall:

(a) Operate as an admission by any Party that any particular discovery material
contains or reflects trade secrets, nonpublic proprietary or commercial information or other
confidential matters; or

(b) Prejudice in any way the rights of any Party to object to the production of

documents it considers not subject to discovery; or

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MARCI A. GILBERT
DISTRICT CLERK
3 COOKE COUNTY, TEXAS
BY: CODY SHIRES, Deputy
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Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 18 of 74 PageID #: 184

(c) Prejudice in any way the rights of a Party to seek a Court determination of {i)
whether particular discovery material shall be produced; or (ii) if produced, whether such
material should be the subject of this Protective Order; or

(d} —- Prejudice in any way the rights of a Party to apply to the Court for a further order
relating to any Protected Information; or

(e) Prejudice in any way the right of any Party to object to the admissibility at trial
for any information or items on any appropriate ground, and nothing herein will be construed as
a waiver of such right.

16. HANDLING OF PROTECTED INFORMATION IN COURT
PROCEEDINGS

This Protective Order does not apply to Protected Information introduced at trial or in
other court proceedings in connection with this lawsuit, Protection of Protected Information in
such proceedings is left to the further agreement of the Parties and order of the Court.

17. ADDITIONAL PARTIES

In the event additional persons become Parties to this litigation, such new Parties shall
not have access to CONFIDENTIAL INFORMATION or ATTORNEYS EYES ONLY
INFORMATION produced by or obtained from any other Party to this Action until the newly
joined Party, and the original Parties to this Action (through counsel), have executed and filed
with the Court an amendment to this Protective Order,

18. COUNSEL OF RECORD

All counsel in this Action and all members and employees of their relative law firms will

take all steps reasonably necessary to comply with this Protective Order.

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ii 53 DISTRICT CLERK
43h. Jay COOKE COUNTY, TEXAS

ges By: CODY SHIRES, Deputy
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19. DESIGNATION OF DOCUMENTS

Designation of any document as “CONFIDENTIAL” or “ATTORNEYS EYES ONLY”
does not mean that for any purpose that document necessarily contains or reflects trade secrets or
non-public, proprietary or confidential information or other confidential matters. Such
designation as “CONFIDENTIAL” or “ATTORNEYS EYES ONLY” is not evidence that such
document contains or reflects trade secrets or nonpublic proprietary commercial information or

other confidential matters.

IT IS SO ORDERED this 3 | day of Ochna, 2018.

 

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M iced COOKE DOLNTY, TEXAS
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AGREED:
KANE RUSSELL COLEMAN LOGAN PC

isi Boyd A. Mouse

Kenneth W. Biermacher
Texas Bar No, 02302400
Boyd A. Mouse

Texas Bar No. 24003949
Emily Green

Texas Bar No. 24106027
{601 Elm Street, Suite 3700
Dallas, Texas 75201
Telephone: (214) 777-4200
Facsimile: (214) 777-4299

Attorneys for Plaintiff Stark Raach-West LLC

AKIN GUMP STRAUSS HAUER & FELD LLP

ist M. Scott Barnard

M. Scott Barnard

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Matthew V. Lloyd

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1700 Pacific Ave., Suite 4100
Dallas, Texas 75201
Telephone: (214} 969-2800
Facsimile: (214) 969-4343

Aftorneys for Defendant Redi-Mix LLC

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Marci A. Gilbert
District Clerk
CAUSE NO. CV18-00515 Gee een exes
STARK RANCH-WEST, LLC § IN THE DISTRICT COURT OF
Plaintiff,
Y. COOKE COUNTY, TEXAS

REDI-MIX, LLC

Defendant. 235TH JUDICIAL DISTRICT

 

JOINT MOTION FOR ENTRY OF STIPULATED PROTECTIVE ORDER

 

Plaintiff Stark Ranch-West, LLC and Defendant Redi-Mix, LLC hereby file this Joint
Motion for Entry of Stipulated Protective Order, approved as to form by counsel for the parties.
Accordingly, the parties respectfully request that the Court enter the Stipulated Protective Order

submitted herewith.

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MARCI A. GILBERT
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f 2 COOKE COUNTY, TEXAS
‘Ne By: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 22 of 74 PagelID#: 188

Dated: October 31, 2018

Respectfully submitted,

KANE RUSSELL COLEMAN LOGAN PC

/s/ Boyd A. Mouse

Kenneth W. Biermacher
Texas Bar No. 02302400
Boyd A. Mouse

Texas Bar No. 24003949
Emily Green

Texas Bar No. 24106027
1601 Elm Street, Suite 3700
Dallas, Texas 75201
Telephone: (214) 777-4200
Facsimile: (214) 777-4299

Attorneys for Plaintiff Stark Ranch-West LLC

AKIN GUMP STRAUSS HAUER & FELD LLP

/s/ M. Scott Barnard

M. Scott Barnard

Texas Bar No. 24001690
sbamard@akingump.com
Matthew V. Lloyd

Texas Bar No. 24083404
mvlloyd@akingump.com
1700 Pacific Ave., Suite 4100
Dallas, Texas 75201
Telephone: (214) 969-2800
Facsimile: (214) 969-4343

Attorneys for Defendant Redi-Mix LLC

Certificate of Service

On October 31, 2018, I served a copy of the foregoing document on all counsel of record
in accordance with the Texas Rules of Civil Procedure.

/s/ Matthew V. Llovd

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MARCI A, GILBERT
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Marci A. Gilbert

District Clerk
Cooke County, Texas
Janice Brewer

CAUSE NO. CV18-00515

STARK RANCH-WEST, LLC IN THE DISTRICT COURT
Plaintiff,

V. COOKE COUNTY, TEXAS

REDI-MIX, LLC

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Defendant. 235th JUDICIAL DISTRICT

 

DEFENDANT?’S FIRST AMENDED ANSWER

 

Defendant Redi-Mix, LLC (“Redi-Mix”) files this First Amended Answer in
response to Plaintiff’s First Amended Petition (the “Petition’’).

L GENERAL DENIAL

1. Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Redi-Mix enters
a general denial of the matters alleged by Plaintiff and requests that the Court require
Plaintiff to prove its allegations by a preponderance of the evidence as required by the
Constitution and laws of the State of Texas.

I. AFFIRMATIVE DEFENSES

2. Plaintiff's Petition fails, in whole or in part, to state a clam upon which relief
can be granted.

3. Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver,
quasi-estoppel, and/or laches.

4. Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

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limitations and/or statute of repose. MARC! A, GILBERT
DISTRICT CLERK

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By: CODY SHIRES, Deputy

 

DEFENDANT’S FIRST AMENDED ANSWER Page 1
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 24 of 74 PagelID #: 190

Il. REQUEST FOR ATTORNEYS’ FEES

5. Pursuant to section 37.009 of the Texas Civil Practice and Remedies Code,
Defendant requests an award of all reasonable and necessary attorneys’ fees incurred by

Defendant in connection with this action.

Dated: March 27, 2019

Respectfully submitted,

AKIN GUMP STRAUSS HAUER & FELD LLP

/S/.M. Scott Barnard

M. Scott Barnard

State Bar No. 24001690
sbarnard@akingump.com
Matthew V. Lloyd

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2300 N. Field Street, Suite 1800
Dallas, Texas 75201
Telephone: (214) 969-2800
Facsimile: (214) 969-4343

 

Attorneys for Defendant Redi-Mix LLC

CERTIFICATE OF SERVICE

I hereby certify that, on March 27, 2019, a true and correct copy of the above and
foregoing instrument has been duly served on all counsel of record in accordance with the
Texas Rules of Civil Procedure.

/8/ Matthew V. Llova
Matthew V. Lloyd

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MARCI A. GILBERT
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DEFENDANT’S FIRST AMENDED ANSWER
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Marci A. Gilbert
District Clerk
Cooke County, Texas

Janice Brewer
CAUSE NO. CV18-00515

STARK RANCH-WEST, LLC § IN THE DISTRICT COURT OF
Plaintiff, :
v. : COOKE COUNTY, TEXAS
REDI-MIX, LLC '
Defendant. : 235TH JUDICIAL DISTRICT

DEFENDANT’S MOTION TO QUASH PLAINTIFE’S NOTICE
OF DEPOSITION OF REDI-MIX, LLC

Defendant Redi-Mix, LLC (“Redi-Mix”) files this Motion to Quash Plaintiff’s Seventh
Amended Notice of Oral Deposition of Redi-Mix, LLC (“Notice”) for the deposition of Redi-
Mix’s corporate representative, scheduled for May 2, 2019 (the “Deposition”). A conference
was held on April 24, 2019 with Boyd Mouse, attorney for opposing party, on the merits of this
motion. Agreement could not be reached; therefore, it is presented to the Court for
determination. The Notice should be quashed because the time and place designated in the
Notice is unreasonable under Texas Rule of Civil Procedure 199.2(b)(2). Specifically, the
Deposition has already been set and noticed three times before and postponed each time by
Plaintiff's counsel:

e February 15, 2019 (Plaintiff's counsel postponed the day before the Deposition);

e March 29, 2019 (Plaintiffs counsel postponed the day before the Deposition); and

e April 2, 2019 (Plaintiff's counsel postponed the day before the Deposition).
Counsel for Plaintiff and counsel for Defendant have attempted to confer regarding a mutually
agreeable time and place for the Deposition on multiple occasions. Defendant’s counsel has
since proposed two additional dates for Deposition: June 8, 2019 and June 22, 2019. However,

Plaintiff's counsel refused these dates because of the extended timeline. Yet, the extended

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DEFENDANT’S MOTION TO QUASH PLAINTIFF'S re COON,

 

 

NOTICE OF DEPOSITION OF REDI-MIX, LLC fo AE tanec cumeer
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timeline is a problem of Plaintiff’s own making due to its continual postponement of the
Deposition. It is unreasonable to force Redi-Mix’s corporate representative to be deposed on
May 2, 2019 when he is not available on that date. Therefore, this Court should quash Plaintiff's
Notice under Texas Rule of Civil Procedure 199.4.

Because this Motion is filed within three business days after service of Plaintiffs Notice
on Tuesday, Apnl 23, 2019, the deposition is automatically stayed pursuant to Texas Rule of
Civil Procedure 199.4 pending the Court’s resolution of this Motion.

WHEREFORE, PREMISES CONSIDERED, Defendant Redi-Mix respectfully requests

that the Court quash the Notice of Deposition.

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DEFENDANT’S MOTION TO QUASH PLAINTIFF'S iof So DISTRICT CLERK
NOTICE OF DEPOSITION OF REDI-MIX, LLC 3. Vii COOKE COUNTY, TEXAS

 

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DATED: April 25, 2019 AKIN GUMP STRAUSS HAUER & FELD LLP

/s/ M. Scott Barnard

M. Scott Barnard

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sbarnard@akingump.com
Matthew V. Lloyd

Texas Bar No. 24083404
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2300 N. Field St., Suite 1800
Dallas, Texas 75201
Telephone: (214) 969-4299
Facsimile: (214) 969-4343

Attorneys for Defendant Redi-Mix LLC

CERTIFICATE OF SERVICE

I hereby certify that, on April 25, 2019, a true and correct copy of the above and
foregoing document was served on all counsel of record in accordance with the Texas Rules of
Civil Procedure.

/s/ M. Scott Barnard

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MARCI A. GILBERT
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DEFENDANT’S MOTION TO QUASH PLAINTIFF'S
NOTICE OF DEPOSITION OF REDI-MIX, LLC

 

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Marci A. Gilbert
District Clerk
Cooke County, Texas
CAUSE NO. CV18-00515 Tracy Chauncey
STARK RANCH-WEST, LLC § IN THE DISTRICT COURT OF
§
Plaintiff, §
§
Vv. § COOKE COUNTY, TEXAS
§
REDI-MIX, LLC §
§
Defendant. § 235TH JUDICIAL DISTRICT

DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF'S
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC

 

TO: Plaintiff Stark Ranch-West, LLC, by and through its counsel of record, Kenneth W.

Biermacher, Boyd A. Mouse, and Emily Green, KANE RUSSELL COLEMAN LOGAN

PC, 3700 Thanksgiving Tower, 1601 Elm Street, Dallas, Texas, 75201.

Defendant Redi-Mix, LLC (“Redi-Mix”) serves the following Objections and Responses
to Plaintiff's Eighth Amended Notice of Oral Deposition of Redi-Mix, LLC (the “Notice”).

GENERAL OBJECTIONS

1. Redi-Mix objects to the extent the topics in the Notice seek information not
known by or reasonably available to Redi-Mix. Redi-Mix will designate witnesses in accordance
with Texas Rule of Civil Procedure 199.2(b)(1).

2. Redi-Mix objects to the extent the topics in the Notice seek information protected
by the attorney-client privilege, work product privilege, or any other privilege or basis for
withholding information recognized under Texas law or the Texas Rules of Evidence and/or
Civil Procedure.

3. Redi-Mix objects to Definition Nos. 2, 3, and 8 to the extent they require Redi-Mix

to respond regarding any and all persons or entities “acting or purporting to act” on behalf of the

persons or entities identified. This phrase renders the definitions vague and calls for speculation

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DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S Mra Maat
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC nage 2
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as to whether anyone is acting on behalf of such parties regardless of their authority to do so.

4, Redi-Mix objects to Definition Nos. 11-15 to the extent they would change the
commonly understood meanings of “identify,” “describe in detail,” and “relate to” or “relating
to.” Redi-Mix will designate witnesses for the topics using the commonly understood meanings

of these phrases.

RESPONSES AND OBJECTIONS PLAINTIFF'S DEPOSITION TOPICS

Your efforts to preserve any documents that may be relevant or reasonably
calculated to lead to the discovery of admissible evidence regarding the subject
matter of the above-referenced action, including but not limited to when you first

made efforts to do so and what you have done.

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

iz. Your efforts to preserve, search for, and produce the documents requested in
Plaintiff's First Requests for Production to you in the above-referenced action,
including identification of the documents you have produced that are responsive to
each request and any documents you are withholding and the basis for withholding
such documents.

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

3. Identification of the Mining Lease, and any amendments or assignments thereof.

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

4, Identification of all surveys or photographs depicting or relating to the Mining

Lease Property, the Stark Ranch Property, or the Disputed Property, or any
portions thereof.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing
objection, Redi-Mix designates David Behring to testify on its behalf concerning surveys or

DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC

 

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MARC! A. GILBERT

DISTRICT CLERK

COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy
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photographs prepared, authorized, or consulted by Redi-Mix that depict or relate to the Mining
Lease Property, the Stark Ranch Property, or the Disputed Property, or any portions thereof.

5. Prior to your first conducting or allowing any activities on the Disputed Property,
your efforts, if any, to determine the boundary of the Mining Lease Property or any
portion thereof or the boundary of the Stark Ranch Property or any portion thereof,
including but not limited to the portion of the Mining Lease Property, if any, that
borders the Stark Ranch Property.

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

6. Subsequent to your first conducting or allowing any activities on the Disputed
Property, your efforts to determine the boundary of the Mining Lease Property or

any portion thereof, including but not limited to the portion of the Mining Lease
Property, if any, that borders the Stark Ranch Property.

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

7. All communications with any person or entity (including but not limited to any
internal communications by or among your agents, employees, contractors,
attorneys, or representatives) relating to the boundary of the Mining Lease Property

or any portion thereof, including but not limited to the portion of the Mining Lease
Property, if any, that borders the Stark Ranch Property.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Redi-Mix objects to the extent this topic explicitly
calls for information protected by the attorney-client and/or work product privilege. Subject to
and without waiving the foregoing objections, Redi-Mix designates David Behring to testify on
its behalf concerning non-privileged communications to or from Redi-Mix relating to the
boundary of the Mining Lease Property or any portion thereof.

8. All communications with any person or entity (including but not limited to any

internal communications by or among your agents, employees, contractors,
attorneys, or representatives) relating to the boundary of the Stark Ranch Property

 
 
 
 

DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC

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DISTRICT CLERK

 
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or any portion thereof, including but not limited to the portion of the Stark Ranch
Property, if any, that borders the Mining Lease Property.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Redi-Mix objects to the extent this topic explicitly
calls for information protected by the attorney-client and/or work product privilege. Subject to
and without waiving the foregoing objections, Redi-Mix designates David Behring to testify on its
behalf concerning non-privileged communications to or from Redi-Mrx relating to the boundary
of the Stark Ranch Property or any portion thereof.

9. All dates on which you or anyone with your permission were physically present on
the Disputed Property or any portion thereof. In other words, all dates on which
you or anyone with your permission were physically present to the left of (also
generally southwest of) the line that is identified and described as the "Gradient
Boundary as surveyed by Nedra Foster, LSLS per survey and plat dated December
2018" on Exhibit "A" attached hereto (also depicted on Exhibit "B" attached
hereto), and, in addition to the foregoing, the land highlighted in blue on Exhibit
"C" attached hereto.

RESPONSE:

Redi-Mix designates David Behring to testify on its behalf concerning this topic.

10. All activities that you have conducted or allowed to be conducted on the Disputed
Property or any portion thereof, including but not limited to deforestation,
prospecting, exploring, mining, production, or sales activities thereon.

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

11. Identification of all individuals who have been physically present on the Disputed
Property on your behalf or with your permission, including but not limited to any
contractors or subcontractors.

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

12. The volume, amount, or type of timber that you removed or allowed to be removed
from the Disputed Property or any portion thereof and the dates thereof, including

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By: CODY SHIRES, Deputy

DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC

 
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estimates regarding the foregoing and any documents, data, or methodology utilized
for such estimates.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing
objection, Redi-Mix designates David Behring to testify on its behalf concerning this topic.

13. The volume, amount, or type of Material (as defined in the Mining Lease, including
Flume Sand and Select Fill as defined in the Mining Lease) that you removed or
allowed to be removed from the Disputed Property or any portion thereof and the
dates thereof, including estimates regarding the foregoing and any documents, data,
or methodology utilized for such estimates.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing
objection, Redi-Mix designates David Behring to testify on its behalf conceming this topic.

14. The volume, amount, or type of any other material (whether or not defined in the
Mining Lease) that you removed or allowed to be removed from the Disputed
Property or any portion thereof and the dates thereof, including estimates regarding
the foregoing and any data, documents, or methodology utilized for such estimates.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing
objection, Redi-Mix designates David Behring to testify on its behalf concerning this topic.

18. With regard to any timber that you removed or allowed to be removed from the
Disputed Property or any portion thereof, the sale or use of such timber, including
but not limited to the identification of, the particular use or product for which the
timber was used or made part of, the purchaser or user, and the sales price or other
consideration received.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not

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MARCI A. GILBERT
DISTRICT CLERK
COCKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC

 
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known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing
objection, Redi-Mix designates David Behring to testify on its behalf conceming this topic.

16. With regard to any Material (as defined in the original Mining Lease, including
Flume Sand and Select Fill as defined in the Mining Lease) that you removed or
allowed to be removed from the Disputed Property or any portion thereof, the
amount of the Tonnage Royalties (as defined and calculated in the Mining Lease)
accrued or paid regarding such Material under the mining Lease, including but not
limited to the amount of the Tonnage Royalties accrued or paid before deduction of
any Advance Royalties (as defined in the original Mining Lease).

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing
objection, Redi-Mix designates David Behring to testify on its behalf concerning this topic.

17. With regard to any Material (as defined in the Mining Lease, including Flume Sand
and Select Fill as defined in the Mining Lease) that you removed or allowed to be
removed from the Disputed Property or any portion thereof, the sale or use of such
Material, including but not limited to the identification of the particular use or
product into which the material was made a part of, the purchaser or user, and the
sale price or other consideration received.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing
objection, Redi-Mix designates David Behring to testify on its behalf concerning this topic.

18. With regard to any other material (whether or not defined in the Mining Lease) that
you removed or allowed to be removed from the Disputed Property or any portion
thereof, the sale or use of such material, including but not limited to the
identification of the particular use or product into which the material was made a
part of, the purchaser or user, and the sale price or other consideration received.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing

objection, Redi-Mix designates David Behring to testify on its behalf concerning this topic.

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DEFENDANT'S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC

 
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19, Whether you contend or believe that you cannot accurately segregate or
differentiate the Material (as defined in the Mining Lease, including Flume Sand
and Select Fill as defined in the Mining Lease) you removed or allowed to be
removed from the Disputed Property from the Material removed from any other
property that you believe is subject to the Mining Lease and the reasons for such
contention or belief.

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

20. Identification of all records furnished to the Lessor (as defined in the Mining Lease)
that are referenced in the last sentence of Section 4 of the Mining Lease.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing
objection, Redi-Mix designates David Behring to testify on its behalf concerning records

furnished to the Lessor by Redi-Mix.

21. —_— All communications with any person or entity (including but not limited to any
internal communications by or among your agents, employees, contractors,
attorneys, or representatives) relating to the calculation of Tonnage Royalties (as
defined in the Mining Lease) under the Mining Lease.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Redi-Mix objects to the extent this topic explicitly
calls for information protected by the attorney-client and/or work product privilege. Subject to
and without waiving the foregoing objections, Redi-Mix designates David Behring to testify on
its behalf concerning non-privileged communications to or from Redi-Mix relating to the

calculation of Tonnage Royalties under the Mining Lease.

22. All communications with any person or entity (including but not limited to any
internal communications by or among your agents, employees, contractors,
attorneys, or representatives) relating to the volume, amount, or type of all Material
(as defined in the Mining Lease, including Flume Sand and Select Fill as definied in
the Mining Lease) you removed or allowed to be removed from the property that

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MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC

 
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you believe is subject to the Mining Lease.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Redi-Mix objects to the extent this topic explicitly
calls for information protected by the attorney-client and/or work product privilege. Subject to
and without waiving the foregoing objections, Redi-Mix designates David Behring to testify on
its behalf concerning non-privileged communications to or from Redi-Mix relating to the
volume, amount or type of all Material that Redi-Mix removed or allowed to be removed from
the property Redi-Mix contends is subject to the Mining Lease.

23. All communications with the Stark Ranch relating to the Stark Ranch Property, the

Mining Lease Property, the Mining Lease, the Disputed Property, or any activities

conducted under the Mining Lease on the property that you believe is subject to the
Mining Lease.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing
objection, Redi-Mix designates David Behring to testify on its behalf concerning
communications to or from Redi-Mix with the Stark Ranch relating to the Stark Ranch Property,
the Mining Lease Property, the Mining Lease, the Disputed Property, or any activities conducted
by Redi-Mix under the Mining Lease on the property that Redi-Mix contends 1s subject to the
Mining Lease.

24. All communications with the Yarbrough Parties relating to the Stark Ranch

Property, the Mining Lease Property, the Mining Lease, the Disputed Property, or

any activities conducted under the Mining Lease on the property that you believe is
subject to the Mining Lease.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not

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DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

DEFENDANT'S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC

   
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known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing
objection, Redi-Mix designates David Behnng to testify on its behalf concerning
communications to or from Redi-Mix with the Yarbrough Parties relating to the Stark Ranch
Property, the Mining Lease Property, the Mining Lease, the Disputed Property, or any activities
conducted by Redi-Mix under the Mining Lease on the property that Redi-Mix contends is
subject to the Mining Lease.

25, All facts supporting or relating to your affirmative defense of failure to state a claim
upon which relief can be granted.

RESPONSE: -
Redi-Mix objects to the extent this topic would require Redi-Mix to marshal all of its

available proof in advance of trial. Subject to and without waiving the foregoing objection,
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

26. _—_— All facts supporting or relating to your affirmative defense of waiver.

RESPONSE:

Redi-Mix objects to the extent this topic would require Redi-Mix to marshal all of its
available proof in advance of trial. Subject to and without waiving the foregoing objection,

Redi-Mix designates David Behring to testify on its behalf concerning this topic.

27, All facts supporting or relating to your affirmative defense of estoppel.

RESPONSE:

Redi-Mix does not assert an affirmative defense of estoppel in its First Amended Answer.
Accordingly, Redi-Mix does not designate a representative to testify concerning this topic.

28. All facts supporting or relating to your affirmative defense of equitable estoppel.

RESPONSE:

Redi-Mix does not assert an affirmative defense of equitable estoppel in its First Amended

Answer. Accordingly, Redi-Mix does not designate a representative to testify concerning this

 
  
  

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EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 37 of 74 PageID #: 203

topic.

29. _— All facts supporting or relating to your affirmative defense of promissory estoppel.

RESPONSE:

Redi-Mix does not assert an affirmative defense of promissory estoppel in its First
Amended Answer. Accordingly, Redi-Mix does not designate a representative to testify
conceming this topic.

30. All facts supporting or relating to your affirmative defense of collateral estoppel.

RESPONSE:

Redi-Mix does not assert an affirmative defense of collateral estoppel in its First
Amended Answer. Accordingly, Redi-Mix does not designate a representative to testify
conceming this topic.

31. All facts supporting or relating to your affirmative defense of quasi-estoppel.

RESPONSE:
Redi-Mix objects to the extent this topic would require Redi-Mix to marshal all of its

available proof in advance of trial. Subject to and without waiving the foregoing objection,
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

32. _ All facts supporting or relating to your affirmative defense of judicial estoppel.

RESPONSE:

Redi-Mix does not assert an affirmative defense of judicial estoppel in its First Amended
Answer. Accordingly, Redi-Mix does not designate a representative to testify concerning this
topic.

33. All facts supporting or relating to your affirmative defense of laches.

RESPONSE:
Redi-Mix objects to the extent this topic would require Redi-Mix to marshal all of its

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DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC

 

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available proof in advance of trial. Subject to and without waiving the foregoing objection,
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

34, All facts supporting or relating to your affirmative defense of the statute of
limitations.

RESPONSE:
Redi-Mix objects to the extent this topic would require Redi-Mix to marshal all of its

available proof in advance of trial. Subject to and without waiving the foregoing objection,

Redi-Mix designates David Behring to testify on its behalf concerning this topic.

35. _—_ All facts supporting or relating to your affirmative defense of the statute of repose.

RESPONSE:
Redi-Mix objects to the extent this topic would require Redi-Mix to marshal all of its

available proof in advance of trial. Subject to and without waiving the foregoing objection,
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

36. All facts supporting or relating to any other affirmative defense that you assert in
the in the above-referenced action.

RESPONSE:

Redi-Mix objects to the topic as vague and ambiguous to the extent it refers to future
affirmative defenses that Redi-Mix has not asserted. Subject to and without waiving the
foregoing objection, Redi-Mix designates David Behring to testify on its behalf concerning this
topic.

37, The amount and method of calculation of the Average Local Sales Price (as defined
in the Mining Lease) for each month that the Mining Lease has been in effect.

RESPONSE:

Redi-Mix designates David Behring to testify on its behalf concerning this topic.

38. | Whether you intend to conduct any future mining activities or any other activities
on the Disputed Property and, if so, what you intend to do and when.

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Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 39 of 74 PageID #: 205

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

39. The amount and method of calculation of Tonnage Royalties (as defined in the
Mining Lease) under the Mining Lease, including but not limited to the amount of
Tonnage Royalties accrued or paid before deduction of any Advance Royalties (as
defined in the Mining Lease).

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

40. The volume, amount, or type of all Material (as defined in the Mining Lease,
including Flume Sand and Select Fill as defined in the Mining Lease) you removed
or allowed to be removed from the property that you believe is subject to the Mining
Lease.

RESPONSE:
Redi-Mix designates David Behring to testify on its behalf concerning this topic.

41. With regard to all Material (as defined in the Mining Lease, including Flume Sand
and Select Fill as defined in the Mining Lease) you removed or allowed to be
removed from the property that you believe is subject to the Mining Lease, the sale
or use of such Material, including but not limited to the identification of the
particular use or product into which the material was made a part of, the purchaser
or user, and the sale price or other consideration received.

RESPONSE:

Redi-Mix objects to this topic as overbroad to the extent it calls for information that is not
known or reasonably available to Redi-Mix. Subject to and without waiving the foregoing

objection, Redi-Mix designates David Behring to testify on its behalf concerning this topic.

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COOKE COUNTY, TEXAS
By. CODY SHIRES, Deputy

   

DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S *
EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC 2 ape ae
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 40 of 74 PagelID #: 206

DATED: May 15, 2019

Respectfully submitted,

AKIN GUMP STRAUSS HAUER & FELD LLP

/s/ M. Scott Barnard

M. Scott Bamard

Texas Bar No. 24001690
sbarnard@akingump.com
Matthew V. Lloyd

Texas Bar No. 24083404
mvlloyd@akingump.com
2300 N. Field Street, Suite 1800
Dallas, Texas 75201
Telephone no.: 214-969-4299
Facsimile no.: 214-969-4343

Attorneys for Defendant Redi-Mix LLC

CERTIFICATE OF SERVICE

I hereby certify that, on May 15, 2019, a true and correct copy of the above and
foregoing document was served on all counsel of record in accordance with the Texas Rules of

Civil Procedure.

/s/ M. Scott Barnard

M. Scott Bamard
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EIGHTH AMENDED NOTICE OF ORAL DEPOSITION OF REDI-MIX, LLC Page 13
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Marci A. Gilbert
District Clerk
Cooke County, Texas
Melissa Gann

CAUSE NO. CV18-00515

STARK RANCH-WEST, LLC § INTHE DISTRICT COURT
Plaintiff, :
v. : 235 JUDICIAL DISTRICT
REDI-MIX, LLC ;
Defendant. ; COOKE COUNTY, TEXAS

PLAINTIFE'S SECOND AMENDED PETITION

Stark Ranch-West, LLC (‘Stark Ranch") files its Second Amended Petition against Redi-Mix,
LLC ("Redi-Mix") and respectfully states to the Court as follows:

I.
DISCOVERY CONTROL PLAN AND RULE 47 STATEMENT

1. Stark Ranch intends to conduct discovery under Level 2 discovery control plan, as
provided by of Rule 190.3 of the Texas Rules of Civil Procedure ("TRCP"). At this time, Stark

Ranch seeks monetary relief over $1,000,000.

II.
PARTIES
eA Stark Ranch is a domestic limited liability company organized under the laws of the
State of Texas.
a Redi-Mix is a domestic limited liability company organized under the laws of the

State of Texas. Redi-Mix has appeared herein and is before the Court tor all purposes.

III.
JURISDICTION AND VENUE

4. This Court has subject-matter jurisdiction over this cause because the amount in
controversy is within the Court's jurisdictional limit.

5. This Court has personal jurisdiction over Redi-Mix because it is a Texas entity, does

 

PLAINTIFF'S SECOND AMENDED PETITION — Page 1
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business in Texas, and/or has had minimum contacts with Texas such that the maintenance of this
lawsuit in Texas does not offend traditional notions of fair play and substantial justice.

6. Venue is mandatory in Cooke County, Texas because this action is for recovery of
damages to teal property located in Cooke County, Texas.’ Alternatively, venue is proper in Cooke
County, Texas because all or a substantial part of the events or omissions giving rise to the claims

herein occurred in Cooke County, Texas.”

IV.
STATEMENT OF FACTS

7. As mentioned above, Redi-Mix, a domestic limited liability company with its
principal place of business located at 331 N. Main Street Euless, Texas 76039, operates various
mining activities.

8. The activities involved in this suit concern the physical incursion by Redi-Mix onto
the real property of Stark Ranch located in Cooke County, Texas. Redi-Mix's actions constitute
trespass upon the Stark Ranch located in Cooke County, Texas and the conversion by Redi-Mix of
property (sand) owned by Stark Ranch or its predecessor.

9. On or about May 31, 2018, Stark Ranch closed on its purchase of a tract of real
property located in Cooke County, from Paul Parker Yarbrough, Jr. and Joanne Keeter (collectively,
"Sellers"). A true and correct legal description of the real estate purchased from Sellers is attached
hereto as Exhibit "A." In connection with such transaction, Stark Ranch engaged a licensed state
land surveyor and registered professional land surveyor to determine the property's gradient
boundary line along the Red River relying on a concept and methodology developed in United States

Supreme Court opinion Stare of ORlahoma v. State of Texas, 260 U.S. 606 (1923)). Such survey revealed

 

1 ‘TEx. Crv. PRAC. & REM. CODE § 15.011.
2 Id § 15.002(a)(1).

 

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that Red-Mix's trespass and mining activities had artificially altered the gradient boundary of the
Seller's property along a portion of the Red River. The teal property the subject of Exhibit "A",
along with the land highlighted tn blue on Exhibit "A-1" attached hereto that depicts the artificial
alteration of the gradient boundary due to Redi-Mix's trespass and conversion of sand, are
collectively referred to hereafter as the "Property."

10. As a part of the purchase of the Property, the Sellers assigned to Stark Ranch certain
causes of action previously owned by Sellers (“Assignment”), a true copy of which 1s attached as
Exhibit "B."

11. Upon information and belief, a mining lease was executed on June 3, 2011 by and
among various patties. A true copy of the original mining lease is attached hereto as Exhibit "C"
("Mining Lease"). The Mtning Lease was subsequently amended and assigned to Redi-Mix on
September 30, 2013, and Redi-Mix constructed a sand mining and processing facility across the Red
River from the Property. A true and correct copy of the Memorandum of Lease Assignment and
Amendment of Mining Lease is attached hereto as Exhibit "D" ("Assigned Lease").

12. In or around 2015, Redi-Mix first began to trespass on the Property and to mine and
convert sand from the Property. Thereafter, upon the discovery of the same by the Sellers and over
the objections of the Sellers, and the Property having been posted "No Trespass," Redi-Mix
continued to trespass on the Property, mine sand from the Property, and convert the sand to its
own possession, ownership, use, and profit. During that time, Redi-Mix also placed cables on the
Property and deforested timber and other vegetation from the Property without authorization.

13. On or about June 8, 2018, Steve Schmitz, Vice President of Stark Ranch, left a
voicemail on the direct telephone line of David Behring ("Behring") requesting that Behring return
the call for purposes of discussing Redi-Mix's wrongful incursion and conversion on the Property.

Behring, upon information and belief, was Redi-Mix's president.

 

PLAINTIFF'S SECOND AMENDED PETITION -— Page 3 7071803 *

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14. Only after Stark Ranch's legal counsel sent Behring a letter on June 15, 2018
regarding the trespass and conversion did Behring respond with his willingness to converse about
the actions Schmitz complained about on behalf of Stark Ranch.

15. On or about June 21, 2018, Behring met with Schmitz in Cooke County for
purposes of discussing the concerns of Stark Ranch and also to overfly the areas of concern. During
the meeting, Schmitz advised Behring that Redi-Mix was trespassing upon the Property and
wrongfully converting sand from the Property. Behring requested information regarding the
methodology used in determining that Redi-Mix was trespassing on the Property. Schmitz agreed to
provide Behring with the requested information.

16. Following their meeting in Cooke County, Schmitz sent Behring an email on June
25, 2018, whereby he explained to Behring that Stark Ranch engaged a licensed state land surveyor
and registered professional land surveyor to determine the Property's gradient boundary line along
the Red River. Schmitz further explained that the expert surveyor determined the Property's
eradient boundary lines relying on a concept and methodology developed in United States Supreme
Court opinion State of Oklahoma v. State of Texas, 260 U.S. 606 (1923)). A true and correct copy of the
June 25, 2018 email is attached as Exhibit "E."

17. On July 9, 2018, Behring responded to Schmitz's earlier email, disagreeing with the
surveyor's findings and suggesting that a Red River Boundary Compact (the "Compact") rule, not
the surveyor's methodology, should have been used in determining the Property boundary line. A
true and correct copy of the July 9, 2018 email is attached as Exhibit "F."

18. On July 18, 2018, Schmitz sent a follow-up email to Behring, explaining that the
Compact did not apply when determining the location of the Property's boundary lines because the
text of the Compact explicitly states that it is not the governing authority to establish boundaries of

ptivate landowners. A true and correct copy of the July 18, 2018 email is attached as Exhibit "G."

 

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19. Upon receiving no substantive response from Behring, Stark Ranch filed this action.
Even after Stark Ranch filed this action and served Redi-Mix with process, upon information and
belief, Redi-Mix continued to trespass on and mine sand from the Property for a period of time.

Vv.
CAUSES OF ACTION

COUNT I: INTENTIONAL TRESPASS

20. Stark Ranch incorporates by reference all allegations contained above as if fully set
forth herein.

21. Stark Ranch became the owner of the Property when it was purchased trom Sellers
on May 31, 2018. In connection with said purchase, Sellers assigned to Stark Ranch its rights to sue,
including its right to sue Redi-Mix.* In or around 2015, Redi-Mix began physically, intentionally,
and voluntarily trespassing on the Property. More specifically, Redi-Mix entered the Property
without authorization and mined sand. During that time, it also placed cables on the Property and
deforested timber and other vegetation from the Property without authorization.

22. Redi-Mix knew or should have known that it was entering on the Property and that it
was doing so without authorization. Additionally and/or alternatively, Redi-Mix trespassed on the
Property and/or converted sand therefrom willfully and/or in bad faith.

23. Redi-Mix’s unauthorized, intentional trespass on the Property has caused injury or
damage to the Property, the Sellers, and/or Stark Ranch for which Stark Ranch 1s entitled to
recover. Stark Ranch seeks all damages available under applicable law, including but not limited to
damages for cost of restoration or repair, loss of use of the land, loss of expected profits from the
use of the land, loss of market value of land, and the intrinsic value of trees and plants. Further,

Stark Ranch seeks damages for the amount of any enhanced value of the sand, without any

 

 

3 See Exhibit B.
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deduction for any expenses incurred by Redi-Mix or for any value added to the sand by its inclusion
in any final product, including but not limited to damages in the full amount of the sales prices of
any final concrete product sold by Redi-Mix that included the sand.

24. Further, the harm with respect to which Stark Ranch seeks recovery resulted from
Redi-Mix's malice and/or gross negligence, and Stark Ranch seeks exemplary damages from Redi-
Mix.

COUNT Il: NEGLIGENT TRESPASS

25, Stark Ranch incorporates by reference all allegations contained above as if fully set
forth herein.

26. In the event that an intentional trespass 1s not found, Stark Ranch alternatively
asserts that Redi-Mix owed a duty to Sellers and Stark Ranch to not trespass on the Property.

27. Redi-Mix breached this duty by failing to ascertain whether or not it was mining on
the Sellers’ or Stark Ranch's property. Redi-Mix further breached this duty by failing to ascertain
whether or not it was deforesting timber and other vegetation from the Property.

28. Redi-Mix's negligent acts are the proximate cause of damage to the Sellers and/or
Stark Ranch, and Stark Ranch seeks all damages available under applicable law.

29. Further, the harm with respect to which Stark Ranch seeks recovery resulted from
Redi-Mix's malice and/or gross negligence, and Stark Ranch seeks exemplary damages trom Redi-
Mix.

COUNT III: CONVERSION OF SAND

30. Stark Ranch incorporates by reference all allegations contained above as if fully set
forth herein.

31. ‘The Sellers and/or Stark Ranch owned the sand on the Property. Redi-Mix

wrongfully exercised dominion and control over the sand on the Property, and the Sellers and Stark

 

  

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Ranch have suffered injury. Accordingly, Stark Ranch is entitled to recover all damages caused by
Redi-Mix's conversion of the sand from the Property, and Stark Ranch seeks all damages available
under applicable law, including but not limited to loss of value (including fair market value plus
interest and/or highest market value plus interest), and lost profits.

32. Further, the harm with respect to which Stark Ranch seeks recovery resulted from
Redi-Mix's malice and/or gross negligence, and Stark Ranch seeks exemplary damages from Redi-
Mix.

COUNT IV: REQUEST FOR DECLARATORY RELIEF

33. Stark Ranch incorporates by reference all allegations contained above as if fully set
forth herein.

34. Pursuant to chapter 37 of the Texas Civil Practice & Remedies Code ("T'?CPRC"),
Stark Ranch requests the Court to enter a Declaratory Judgment declaring, in whole or in part, one
or more of the following:

(a) The Red River Boundary Compact ("Compact") does not apply to the determination
of the boundary of the Property because the Compact explicitly states that it does
not interfere with or otherwise affect private property rights or title to property.

35. A controversy exists between the parties as to whether the Compact applies in

determining the Property's boundary lines. Stark Ranch seeks these declarations in order to attord tt
relief from the uncertainty with respect to the Compact's application to this matter.

VI.
APPLICATION FOR INJUNCTIVE RELIEF

36. Stark Ranch incorporates by reference all allegations contained above as if fully set
forth herein.
37. Additionally and/or alternatively, pursuant to Chapter 65 of the TCPRC and Rule

680 of the TRCP, Stark Ranch seeks injunctive relief against Redi-Mix.

 

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38. Stark Ranch has demonstrated a probable right to relief and a likelihood of success
on the merits.

39. By reason of the acts and practices of Redi-Mix, as more fully set forth herein above,
Stark Ranch is suffering, and continues to suffer, incalculable financial loss and great and irreparable
injuries to its Property for which it has no adequate remedy at law.

40. An eminent threat exists that Redi-Mix will continue to trespass upon the Property
and convert sand from the Property for tts own possession, ownership, use, and profit, without
authorization.

41. Unless Redi-Mix is enjoined from doing so, Stark Ranch will be irreparably harmed
because, among other things, damages are not presently ascertainable and/or presently cannot be
measured by any certain pecuniary standard.

42. Further, pursuant to section 65.0116) of the TCPRC, Stark Ranch has a statutory
tight to an injunction for the threatened irreparable injury to the Property, irrespective of any
remedy at law.

43, By virtue of the foregoing, a balancing of the equities favors the issuance of a
Temporary Restraining Order and Temporary Injunction against Redi-Mix. Stark Ranch respecttully
prays that this Court issue a Temporary Restraining Order and that Redi-Mix, its agents, officers,
directors, employees, and any other person or entity acting in concert with or on behalf of Redi-Mix
who receive actual notice of the Court's Order by service or otherwise, be ordered, in whole or in
part, as follows:

(a) Redi-Mix shall desist and refrain from entering the Property and from altering,

modifying, removing, and/or destroying any sand, timber, or vegetation on the
Property.
44. Stark Ranch is ready and willing to post an appropriate bond set by the Court. Stark

Ranch further requests that the Court schedule a hearing at which time Redi-Mix should be required

 

PLAINTIFF'S SECOND AMENDED PETITION - Page 8 70718

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By: CODY SHIRES, Deputy

 
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to appear and show cause why a Temporary Injunction should not be issued prohibiting Redi-Mix's
activities through the time of trial, and that, upon such hearing, a Temporaty Injunction be issued
prohibiting Redi-Mix's activities to the time of trial and, thereafter, a Permanent Injunction upon
final trial, to restrain Redi-Mix from the foregoing activities.

VII.
REQUEST FOR ATTORNEYS' FEES

45. Stark Ranch incorporates by reference all allegations contained above as if fully set
torth herein.

46. As a result of Redi-Mix's conduct, Stark Ranch has retained the services of Kane
Russell Coleman Logan PC, licensed attorney's to enforce its rights and protect its legal interests.
Stark Ranch has agreed to pay Kane Russell Coleman Logan PC reasonable and necessary attorney's
fees and expenses. Pursuant to section 37.009 of the TCPRC and other applicable law, Stark Ranch
is entitled to recover from Redi-Mix its reasonable and necessary attorneys’ fees, court costs, and
expenses in pursuing this action.

VIII.
CONDITIONS PRECEDENT

47, All conditions precedent to recovery for the relief sought heretn have been

pertormed, have occurred, or have been satisfied.

IX.
DISCOVERY RULE AND OTHER DOCTRINES

48. In response to any statute of limitations, statute of repose, or similar detenses
asserted by Redi-Mix, Stark Ranch pleads the discovery rule as to all claims. Additionally and/or
alternatively, Stark Ranch pleads the continuing tort doctrine as to all claims. Redi-Mix committed

ongoing or repeated trespasses or conversions and/or a series or succession of trespasses or

 

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conversions regarding the Property and the sand thereon. Each day that the foregoing were

committed creates a separate cause of action.

X.
PRAYER

WHEREFORE, Plaintiff Stark Ranch requests that Redi-Mix be cited to appear and answer

herein and, upon final hearing of this cause, the Court enter a judgment in favor of Stark Ranch

against Redi-Mix for the following:

 

 

a. Declaratory relief as requested herein,
b. Inyunctive relief as requested herein,
C. Judgment against Redi-Mix for damages in an amount proven at trial or hearing
within this Coutt's jurisdictional limits;
d. Pre-and post-judgment interest as allowed by law;
e. Reasonable and necessary attorneys’ fees;
f. Costs of court;
g. Such other and further relief to which Stark Ranch may be justly entitled.
Respectfully submitted,
KANE RUSSELL COLEMAN LOGAN PC
1601 Elm Street, Suite 3700
Dallas, Texas 75201
(214) 777-4200 / Fax (214) 777-4299
By: s/ Boyd 4. Mouse
Kenneth W. Biermacher
State Bar No. 02302400
Boyd A. Mouse
State Bar No. 24003949
Emily Green
State Bar No. 24106027
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CERTIFI E ERVICE

I hereby certify that a true and correct copy of the foregoing has been served this 14 day of
June, 2019 on all counsel of record via the Court's electronic filing service.

Boyd A. Mouse
Boyd A. Mouse

 

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EXHIBIT

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Exhibit "A“

Tract One;

FIELD NOTES TO 2022.20 ACRES IN THE 8.8.B. & C.R.R. CO. SURVEY ABSTRACT 156,
ET AL, COOKE COUNTY, TEXAS

All that cercain tract or parcel of land situaced in the B.B B. & C.R.R. Co.
Survey Abstract 156, the J.P. Havins Survey Abstract 455, the C. Hart Survey
Abstract 461, the $.3. Murrell Survey Abstract 1420, the W.H. Donham Survey
Abstract 1479, che B.8.B. & C.R.R. Co. Survey Abstract 177, the S.E. Clements
Survey Abstract 264, the R. McFall Survey Abstract 674, the J.N. Wright
Survey Abstract 1535, the J.G. Jones Survey Abstract 1206, the A. Elston
Survey Abstract 351, the J.S.H. Donham Survey Abstract 1244, the C.E. Fallis
Survey Abstract 1516, the $.B. Murrell Survey Abstract 1491, the David Smith
Survey Abstract 173, the Thomas Wright Survey Abstract 1156, the

B. A. Stanford Survey Abstract 1445, the A. Hodge Survey Abstract 1388, the
J.N. Murrell Survey Abstract 1525, the 8.C. Forbes Survey Abstract 1614, the
V.A. Howeth Survey Abstract 1631, the McKinney and Williams Survey Abstract
755, and the Jacob Spears Survey AOstract 915, Cooke County, Texas, being all
of a called 1546 acre tract conveyed by Laura Josephine Jones to Frances
Yarbrough by deed recorded in Volume 325, page 110 of the Cooke County Deed
Records, being a part of a called 530 acre tract described in a deed from
Laura Josephine Jones to Frances Yarbrough recorded in Volume 371, page 3 of
said Deed Records, and being ali of a 0.91 acre tract conveyed by Robert T,.
Lewis, et ux to Paul Yarbrough, et ux by deed recorded in Volume 719, page
629 of said Deed Records, and being more particularly described as follows:

BEGINNING at a set steel pin on the West line of said 530 acre tract located
North 00 degrees 06 minutes 46 seconds West, a distance of 62.31 feet from
the Southwest corner of said 530 acre tract, on the Nocthwesterly line of
F.M. Road 1202 which was the right-of-way for McxXinley Avenue during the Camp
Howze period, and was granted by the USA ta Cooke County by deed recorded in
Volume 322, page 114 of said Deed Records, said point also being the
Southeast corner of a tract conveyed to Mollie Eaton by deed recorded in
Volume 1448, page 314 of the Cooke County Official Public Records;

THENCE North 00 degrees 06 minutes 46 seconds West, with the West line of
said Yarodrough tract, along and near a fence, passing the Northeast corner of
said Mollie Eaton tract, same being a Southeast corner of a tract described
in a deed to Karl Trubenbach Land LP recorded in Volume 2049, page 702 of the
Cooke County Official Public Records, continuing and passing the Northwest
corner of said 530 acre tract, same being the Southwest corner of said 1546
acre Cract, continuing with the West line of said 1546 acre tract and passing
a Northease corner of said Trubenbach Land LP, same being the Southeast
corner of a tract described in a deed to James Martin Lewis recorded in
Volume 866, page 141 of said Deed Records, continuing with said West line of
Yarbrough tract and the East line of previously said Lewis tract, and passing
the Lewis tract's Northeast corner, common to the Southeast corner of a tract
described as Exnibit C in a deed to Robert Lewis, III recorded in said Valume
866, page 141 of saic Deed Records, continuing and passing the Westernmost
Northwest corner and the North corner of said 0.91 acre tract, {said North
corner being on the Northeast line of a called 20.89 acre tract described in
a deed From W.P. Clements, Jr., Governor of the State of Texas, et ai to
Robert T. Lewis, Jr., et ux recorded in Volume 666, page 421 of said Deed
Records), continuing and passing the Northeast corner of said Robert Lewis
tract, common to the Southeast corner of a tract described in a deed toa

F. Michael Sparks recorded in Volume 1404, page 169 of said Public Records,
continuing with said common line a total distance of 13,649.55 Feet to a
square pipe found at a fence corner at the Northeast corner of said Sparks
tract, common to the Southeast corner of a tract conveyed to Ken Fomby by
deed recorded in Volume 1139, page 603 of said Public Records;

THENCE North 00 degrees 08 minutes 28 seconds West, along and near a Eence,
continuing with the West line of said Yarbrough tract, a distance of
5629.45 Feet to a wocden fence corner at the Northwest corner of said 1!
tract, on the North line of said Wright Survey, common to the South line
the T. Booker Survey Abstract 72;

A CERTIFIED COPY
MARC: A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 

EXHIBIT A

Page l of 3
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 54 of 74 PageID #: 220

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BBB & CRR Co Su
2022.20 ac. tr. Pq. 2 of 3
Abstract 1546, et al

THENCE South 89 degrees 24 minutes 42 seconds East, with said common survey
line, aitong a fence, a distance of 267.14 feet to the Northwest corner of
said Jones Survey, common to the Northeast corner of said Wright Survey and
said Yarbrough tract;

THENCE Southeasterly, with the East Line of said Yarbrough tract and the
South bank of said Red River as evidenced by the calls in the various survey
patents which bounds che Red River in the Yarbrough deed, the following
courses and distances:
South 34 degrees 41 minutes 44 seconds East, a distance of 151.47 feet;
South 25 degrees 43 minutes 04 seconds East, a distance of 172.40 feet;
South 33 degrees 01 minute 58 seconds East, a distance of 250.53 feet:
South 22 degrees 36 minutes 13 seconds East, a distance of 265.495 Feet;
South 43 deqrees 4? minutes 51 seconds East, a distance af 1181.31 Feet;
South 34 degrees 06 minutes 03 seconds East, a distance of 700.198 feet;
South 41 degrees 25 minutes 24 seconds East, a distance of 1083.85 feat:
South 39 degrees 56 minutes 49 seconds East, passing the Southeast corner
of said Jones Survey, common to the Northwest corner of said Elston
Survey and continuing a total distance of 698.65 feet:
South 36 degrees 32 minutes 15 secands East, a distance of 340.94 Feet;
South 38 degrees 45 minutes 04 seconds East, a distance of 193,10 feet;
South 39 degrees OQ minutes 39 seconds East, a distance of 889.95 feet
to a corner on the gradient boundary of the Red River as surveyed by
Nedra Foster, LSLS on February 2018;

THENCE continuing along the gradient boundary the following calls and
distances;
South 39 degrees 32 minutes 10 second East, a distance of 385.33 feet
Seuth 36 degrees 08 minutes O07 seconds East, a distance of 234.02 feet;
South 38 degrees 10 minutes 44 seconds East, passing the Nertheast corner
of said Eiston Survey, common to the North corner of said Smith Survey
and continuing a total distance of 297.68 feet;
South 35 degrees 37 minutes 50 s@cconds East, a distance of 286.67 feet;
South 35 degrees 41 minutes 43 seconds East, distance of 253.65 feet;
South 34 degrees 19 minutes 49 seconds East, distance of 148.95 feet;
South 42 degrees 22 minutes 03 secands East, distance of 123.17 feet;
South 43 degrees 37 minutes 31 seconds East, distance of 265.24 feet;
South 45 degrees 34 minutes 58 seconds East, distance of 208.61 feet;
South 47 degrees 46 minutes 27 secands East, distance of 321.40 feet;
South S2 degrees 07 minutes 30 seconds East, distance of 262.24 feet;
South GO degrees 46 minutes 51 seconds East, distance of 67,60 feet;
South 66 degrees 06 minutes 17 seconds East, a distance of 172.92 feet
to the Northeast corner Of said Yarbrough tract, on the West line of the
G.c. & 5.F. Railroad:
THENCE Southerly, with the East line of said Yarbrough tract, common to the
West line of said railroad, the following courses and distances:
South 36 degrees Q8 minutes 23 seconds West, a distance of 546.05 feet
to a set steel pin at the beginning of a curve;
Southwesterly, 1767.07 feet along a curve to the left having a radius
of 1985.08 feet and a chord of South 10 degrees 38 minutes 08 seconds
West, a distance of 1709.47 feet to a set steal pin at the end of said
Curve;
South 14 degrees $2 minutes 08 seconds East, a distance of 500.86 feet
to a set steel] pin at the beginning of a curve;
Southeasterly, 598.85 feet along a curve to the right having a radius of
1835.08 feet and a chord of South 05 degrees 31 minutes 08 seconds East,
a distance of 596.27 feet to a set steel pin at the end of said curve:
South 03 degrees 49 minutes 52 seconds West, a distance of 1893.14 feet
Lo a sek steel pin at the beginning of a curve;
South@asterly, 641.36 feet along a curve to the left having a radius
O£ 2939.93 feet and a chord of South 02 degrees 25 minutes 08 seconds
East, a distance of 640.12 feet to a set steel pin at the end of said
curve;
South 08 degrees 40 minutes 08 seconds East, a distance of 504.80 feet
to a set steel pin at the beginning of a curve;

EXHIBIT A

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A CERTIFIED COPt
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 55 of 74 PageID #: 221

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BBB & CRR Co Su
2022.20 ac. tr. Pg. 3 of 3
Abstract 156, et al

Southeasterly, 722.25 feet along a curve to the right having a cadius

of 2789.93 feet and a chord af South 01 degree 15 minutes 08 seconds

East, a distance of 720.27 feet to a set steel pin at the end of said

curve;

South 06 degrees 09 minutes 52 seconds West, a distance of 2316.98 feat

to a4 set steel pin at the beginning of a curve;

Southeasterly, 692.67 feet along a curve to the left having a radius of

2939.93 feet and a chord of South 00 degrees 35 minutes 08 seconds East,

a distance of 691.10 feet to a set steel pin at the end of said curve;

South 0? degrees 20 minutes 08 seconds Bast, a distance of 1942.51 feet

to a set steel pin at the beginning of a curve;

Southeasterly, 689.79 feet along a curve co the right having a radius

of 2789.93 feet aid a chord of South OO degrees 15 minutes 08 seconds

East, a distance of 688.07 feet to a set steel pin at the end of said

curve;

South 06 degrees 49 minutes 52 seconds West, a distance of 283.34 feer
Co a set steel pin at a fence corner at the Southeast corner of said
Yarbrough tract;

THENCE North 8? degrees 39 minutes 26 seconds West, with the South line
of said tract, a distance of 5344.51 Feet to a set steel pin on the
Northeastern line of said F.M. Road 1202;

THENCE North 25 degrees 30 minutes 43 seconds West, with said Northeastern
line, crossing an access easement coadway, and continuing a total distance
of 80.97 feet to a set steel pin near a power pole;

THENCE South 64 degrees 22 minutes 17 seconds West, with the Necthwestern
line of said F.M. Road 1202, a distance of 19.91 feet to the point of
beginning containing 2022.20 acres of land.

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MARE! A. GILBERT

DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

    

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EXHIBIT A
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 56 of 74 PageID #: 222

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LESS AND EXCEPT THE FOLLOWING TRACT:

FIELD NOTES TO 29.71 ACRES IN THE JACOB SPEARS SURVEY ABSTRACT 915,
ET AL, COOKE COUNTY, TEXAS

All that certain tract or parcel of land. situated in the V.A. Howeth
Survey Abstract 1631, and the Jacob Spears Survey Abstract 915, Cooke
County, Texas, being all of a called 30 acre tract described in a deed
from A. M. Burch to Gainesville Gun & Rod Club recorded in Volume §2,
page 131 of the Cooke County Deed Records, and being more particularly

described as follows:

BEGINNING at a set steel pin in a found pile of stone at the South corner
of said 30 acre tract, said corner being located North 87 degrees

39 minutes 26 secords West a distance of 1715.30 feet and North 02 degrees
20 minutes 34 seconds East a distance of 6.92 feet from the Southeast
corner of a tract cescribed in a deed to Frances Yarbrough recorded in

Volume 325, page 110 of said Deed Records;

THENCE North 18 degrees 01 minute 19 seconds West, near a fence, a
distance of 773.25 feet to a set steel pin in a found pile of stone at the

Northwest corner of said 30 acre tract;

THENCE North 73 degrees 43 minutes 59 seconds East, near a fence partway,
a distance of 1866.33 feet to a set steel pin in a found pile of stone at
the Northeast corner of said 30 acre tract;

THENCE South 13 degrees 57 minutes 34 seconds East, along and near a
fence, a distance of 437.53 feet to'a set steel pin at the Easternmost

Southeast corner of said 30 acre tract;

THENCE. South’ 25 degrees 51 minutes 21 seconds West, a distance of
313.39 feet to a set steel pin at the Southernmost Southeast corner

of said 30 acre tract;

THENCE South 70 degrees 04 minutes 27 seconds West, with the South line
of said 30 acre tract, a distance of 1618.14 feet to the point of
beginning containing 29.71 acres of land.

GAINESVILLE GUN & ROD CLUB

& CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 

EXHIBIT A
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 57 of 74 PageID #: 223

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LESS AND EXCEPT THE FOLLOWING TRACT:

FIELD NOTES TO 11.41 ACRES IN THE B.B.B. & C.R.R. CO. SURVEY ABSTRACT 156,
ET AL, COOKE COUNTY, TEXAS

All that certain tract or parcel of land situated in the B.B.B. & C.R-R. Co.
Survey Abstract 156 and the J. P. Havins Survey Abstract 455, Cooke County,
Texas, being all of a tract described as Water Well Site No. 2 in a deed from
The United States of America to the City of Gainesville recorded in Volume 366,
page 625 of the Cooke County Deed Records, and all of a tract conveyed by
Parker Yarbrough, et al to City of Gainesville by deed recorded in Volume 1081,

page 331 of the Cooke County Official Public Records and being more
particularly described as follows:

BEGINNING at a found steel pin at the Northwest corner of said Water Well Site
No. 2, said beginning corner further being located North 00 degrees 06 minutes
46 seconds West, a distance of 770.21 feet and North 89 degrees 53 minutes

14 seconds East, a distance of 141.14 feet from the Southwest corner of a tract
described in a deed to Frances, Yarbrough recorded in Volume 371, page 3 of said

Deed Records;

THENCE North 64 deqrees 30 minutes 33 seconds East, with the North line of said
Water Well Site No. 2, a distance of 77.28 feet to a found steel pin at a West

corner of said Yarbrough to City of Gainesville tract;

THENCE North 25 degrees 27 minutes 13 seconds East, a distance of 454.63 feet
to a found steel pin at the Northernmost Northwest corner of said Yarbrough

to City of Gainesville tract;

THENCE North 69 degrees 31 minutes 59 seconds East, a distance of 478.58 feet
ta a found steel pin at the Northeast corner of said Yarbrough to City of

Gainesville tract;

THENCE South 20 degrees 21 minutes 59 seconds East, a distance of 654.74 feet
to a found steel pin at the Southeast corner of said Yarbrough to City of

Gainesville tract;

THENCE South 69 degrees 37 minutes 25 seconds West, a distance of 673.56 feet
to a fence corner at the Southernmost Southwest corner of said Yarbrough to
City of Gainesville tract, common to the Southeast corner of said Water Well

Site Ne. 2;

THENCE South 64 degrees 38 minutes 26 seconds West, with the South line of said
Water Well Site No. 2, a distance of 178.00 feet to a found steel pin at the

Southwest corner of said Water Well Site No. 2;

THENCE Worth 25 degrees 26 minutes 27 seconds West, a distance of 347.14 feet
.to the point of beginning containing 11.41 acres of land.

CITY OF GAINESVILLE WATER WELL SITE NO. 2

ACERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
Fe COOKE COUNTY, TEXAS
Git By: CODY SHIRES, Deputy

 

EXHIBIT A
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 58 of 74 PageID#: 224

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Exhibit "A"

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Tract Two;

FIELD NOTES TO 133.77 ACRES OF ACCRETED LAND IN COOKE COUNTY, TEXAS

Ail that certain tract or parcel of land situated in Cooke County, Texas
being accreted land lying between the patented land of the J.G. Jones Survey
Abstract 1206 and the A. Elston Survey Abstract 351 and the present Gradient
Boundary of the Red River as surveyed by Nedra Foster, LSLS on February 2018
and being more particularly described as follows:

BEGINNING at a set capped steel pin at the Northwest corner of the said
Jones Survey, cammon to the Northeast corner of the J. N. Wright Survey
Abstract 1535, on the South line of the T. Booker Survey Abstract 72, at
the Northernmost Northeast corner of a 1546 acre tract of land conveyed by
Laura Josephine Jones to Frances Yarbrough by deed recorded in Volume 325,
page 110 of the Cooke County Deed Records;

THENCE South 89 degrees 24 minutes 42 seconds East, with the projected North
line of said Booker Survey, a distance of 1482.97 feet to a corner on the said
Gradient Boundary on the Red River as surveyed by Nedra Foster, LSLS on
February, 2018;

THENCE Southeasterly, along said gradient boundary, the following courses
and distances:

South 53 degrees 58 minutes 21 seconds East for a distance of 91.40 feet
to a corner;

South 45 degrees 17 minutes 03 seconds East for a distance of 427.80 feet
to a corner;

South 60 degrees 28 minutes 15 seconds East for a distance of 691.87 feet
to a corner;

South 27 degrees 10 minutes 46 seconds East for a distance of 834.10 feet
to a corner:

South 27 degrees 24 minutes 53 seconds East Far a distance of 784.05 Feet
to a corner:

South 42 degrees 03 minutes 52 seconds East for a distance of 110.45 feet
to a corner;

South 24 degrees 14 minutes 12 seconds East for a distance of 297.20 feet

to a corner;
South 18 degrees 40 minutes 36 seconds East for a distance of 299.79 feet

to a corner;
South Ll degrees 16 minutes 26 seconds East for a distance of 312.02 feet

to a corner;

South 00 degrees 25 minutes 20 seconds West for a distance of 407.01 Feet
te a corner;

South 66 degrees 22 minutes 14 seconds West for a distance of 52.39 feet
to a corner:

Nerth 89 degrees 32 minutes 43 seconds West for a distance of 126.00 feet
to a corner;

North 24 degrees 20 minutes 28 seconds West for a distance of 46.10 feet
co a corner;

South 60 degrees 48 minutes 09 seconds West for a distance of 38.95 feet
to a corner;

South 45 degrees 59 minutes 16 seconds West for a distance of 82.04 feet
to a cornec;

South 31 degrees 17 minutes 35 seconds West for a distance of 59.68 feet
Lo a corner;

South 06 degrees 34 minutes 55 seconds East for a distance of 52.35 feet
ta a corner;

South 63 degrees 26 minutes 06 seconds East for a distance of 35.78 feet
to a corner;

South 04 degrees 14 minutes 11 seconds West for a distance of 27.07 feet
to a corner;

South 57 degrees 22 minutes $i seconds West for a distance of 29.68

TO a corner;
South 05 degrees 11 minutes 40 seconds Bast for a distance of 22,09

Co 4a corner;

A CERTIFIED COPY
MARCI a, GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 

Page L of 2 EXHIBIT A
Case’4:T9-cv-00651 Document 1-2 Filed, 09/09/19 Page 59 of 74 PagelD #: 225
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Accreted land pq. 2 of 2 ” a
South 48 degrees 27 minutes 24 seconds East for a distance of 105.55 feet to a
corner;

South 35 degrees 45 minutes 14 seconds West for a distance of 30.81 feet
to a corner;

South 06 degrees 06 minutes 56 seconds East for a distance of 84.48 feet
to a corner;

South 36 degrees 15 minutes 14 seconds East for a distance of 37.20 Feet
to a corner;

South 72 degrees 15 minutes 19 seconds East for a distance of 78.75 feet
to & corner;

South 33 degrees 06 minutes 41 seconds West for a distance of 82.38 Eeet
to a corner;

South 15 degrees 31 minutes 27 seconds East for a distance of 37.36 Feet
to a corner;

South 40 degrees 14 minutes 11 seconds East for a distance of 85.15 feer
to a corner; :

South 55 degrees 54 minutes 18 seconds East for a distance of 78.49 Feet
to 4a corner;

South 24 degrees 23 minutes 58 seconds East for a distance of 106.51 feet
tc a corner;

South 62 degrees 48 minutes 07 seconds East for a distance of 80.95 feet
to a corner:

South 10 degrees 22 minutes 33 seconds East for a distance of 72.18 feat
to @ corner;

South 45 degrees 00 minutes 00 seconds East for a distance of 43.84 feet
te @ corner;

South 39 degrees 24 minutes 02 seconds East for a distance of 72.47 feet
Co a COCner;

South 63 degrees 01 minutes 11 seconds East for a distance of 61.72 feet
to a corner;

South 51 degrees 06 minutes 56 seconds East For a distance of 39.82 feet
to a corner:

South 21 degrees 57 minutes 38 seconds East for a distance of 66.85 feet
to a corner;

South 16 degrees 19 minutes 37 seconds East for a distance of 206.32 feet
to a corner;

South 12 degrees 01 minutes 50 seconds East for a distance of 62.37 Feet
to a corner;

South 65 degrees 46 minutes 20 seconds West for a distance of 21.93 feet
to a corner on the Northeast line of the A. Elston Survey Abstract 351, common
ta the Northeast line of said Jones to Yarbrough tract;

Northwesterly, with the Northeasterly Line of said Elston Survey and the
J. G. Jones Survey Abstract 1206 as patented the following courses and
distances:

North 42 degrees 55 minutes 30 seconds West for a distance of 310.24 feec .
ta a corner;

North 39 degrees 00 minutes 39 seconds West for a distance of 889.95 feet
to a corner:

North 38 degrees 45 minutes 04 seconds West for a distance of 193.10 feet
Co a corner;

North 36 degrees 32 minutes 15 seconds West for a distance of 340.94 feet
to a corner;

North 39 degrees 56 minutes 49 secands West for a distance of 698.65 Feet
to a corner;

North 41 degrees 25 minutes 24 seconds West for a distance of 1083.85 feet
to a corner;

North 34 degrees 06 minutes 03 seconds West for a distance of 700.18 feet
to a corner;

North 43 degrees 4? minutes 51 seconds West for a distance of 1181.31 feet
to a corner;

North 22 degrees 36 minutes 13 seconds West for a distance of 265.49 feet
to a corner;

Nerth 33 degrees 01 minute 58 seconds West for a distance of 250.52 feet
to a corner;

Norch 25 degrees 43 minutes 04 seconds West for a distance of 172.40 feet
to a corner;

North 34 degrees 41 minutes 44 seconds West For a distance of 151.47 fe ounittten,,
to the point of beginning and containing 133.77 acres of land. hare A CERTIFIEDCOPY

MARCI A. GILBERT

EXHIBIT A

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DISTRICT CLERK
COOKE COUNTY, TEXAS

   

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Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 60 of 74 PageID #: 226

EXHIBIT
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MARCI A, GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: COOY SHIRES, Deputy

 
 

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Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 62 of 74 PageID #: 228

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A CERTIFIEDCOPY
MARCI A, GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Documenti1-2 Filed 09/09/19 Page 63 of 74 PagelD #: 229

 

[ ASSIGNMENT OF CAUSE OF ACTION ]

THIS ASSIGNMENT OF CAUSE OF ACTION (this “Assignment’) is made and entered
into as of the __. day of May, 2018 (the “Effective Date”), by and between Paul Parker Yarbrough
Jt. and Jo Anne Keeter (as “Assignors”) and Stark Ranch - West, LLC, a Texas limited Keability
company (as “Assignee”).

WIUENESSETH:

WHEREAS, Assignots and Assignee previously entered into a Farm and Ranch Contract
dated November 7, 2017 (the “Contract”) whereby Assignots agreed to sell to Assignee
apptoximately 2,114.85 acres of land located in Cooke County, Texas, deseribed on Exhibit A (the
“Property”);

WHEREAS, Redi-Mix, LLC or its affiliate (“Redi-Mix”) is trespassing on, and has trespassed
on, the Property to conduct its mining operation, resulting in damages to the Property and damages
incutred by the Assignors;

WHEREAS, in consideration for Assignee’s purchase of the Property and for Ten dollars
($10.00) and other valuable consideration, the receipt and value of which is hereby acknowledged,
Assignots agree to assign and transfer (o Assignee any claims, demands ot causes of action of whatever
kind or nature, that Assignors now have or may have against Redi-Mix for any loss, injury, ot damage
caused to the Property for trespass, conversion, clouded title and the mining or removal of any
Aggregates and other resources from the Property (the “Assigned Claim”);

WHEREAS, Assignors now assign the Assigned Claim, and Assignee accepts such assignment
as set forth herein.

NOW, THEREFORE, for good and valuable consideration, the parties agree as follows:

1, Incorporation of Recitals. The above recitals are incorporated into and shall constitute
a part of this Assignment.

2. Assignment. Simultaneously with, and conditioned upon, the closing of the sale of
the Property to Assignee, Assignots hereby transfer and assign all of their right, title,
and interest in and to the Assigned Claim to Assignee, and Assignee hereby accepts
the Assigned Claim from Assignors, which shall include Assignots’ right to recover
and retain amounts for damages that arose prior to the sale of the Property to Assignee.

3. No Recourse, This Assignment is without recoutse. Assignors do not guarantee
payment of the Assigned Claim. However, Assignors agree that if any payment with
respect to the Assigned Claim is awarded to or otherwise made to Assignors, Assignors
shall promptly remit any such payment to Assignee.

STARK Rancit - West, LLC
ASSIGNMENT OF CAUSES OF ACTION-CAGE ¢

A CERTIFIED COPY
MARCI A, GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIPES, Daputy

  

 
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 64 of 74 PageID #: 230

4, Successors and Assigns. This Assignment shall be binding upon and inure to the
benefit of each of the parties hereto and theit respective heirs, legal representatives,
successors and assigns. ,

5, Counterparts. This Assignment may be executed in one or more couriterpatts, each

of which shall be an original and all of which shall constitute but one and the same
document.

[Retnainder of Page Intentionally Left Blank; Signature Page Follows}

 

STagk RANCH « West, LLC
ASSIGNMENT OF CAUSES OF ACTION- PAGE 2

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COCKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 65 of 74 PageID #: 231

IN WITNESS WHEREOF, the parties hereto have executed this Assignment effective as of
the Effective Date. (

 

STATE OF Log het} )
) ss.
COUNTY OF Cok )

The foregoing instrument was acknowledged before me this .7/ day of ep. 2018, by

Paul Parker Yarbrough, Jr. yg

 
 
 

 

My Commission No.!

(SEAL)

JOANNE KEETER

STATE OF Lowes )
} ss.
county or Zak }

The foregoing instrument was acknowledged before me this 3°. day of
JoAnne Keeter,

  
 
  

 

My Commission Expires;

  
  

   

KRISTI KLBINERT
MY COMMISSION EXPIRES
07/15/2020
NOTARY ID: 124990073 |}

  

My Commission No.:

  
 

  
  

 

STARK RaNnCit= West, LLC
ASSIGNMENT OF CAUSES OF ACTION ~ SIGNATURE PAGE

 

A CERTIFIED COPY
MARCI A, GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

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Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 66 of 74 PageID #: 232

ASSIGNEE:

STARK RANCH - WEST, LLC,
a Texas limited liability company

By: C
Name: Steve Schmitz
Title: Vice-President

state or Lagcad
) ss,
COUNTY OF Lemke )

The foregoing instrument was acknowledged before me this.) day of wa » 2018, by
Steve Schmitz, as the Vice-President of Stark Ranch-West, LL

  

My Commission Expires:

     

   
  
   

  

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Ge. KRISTIKLEINERT |
ei MY COMMISSION EXPIRES f
A 07/15/2020

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My Commission No.:

            

  

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STARR RANCH WEST, LLC
ASSIGNMENT OF CAUSES OF ACTION~ SIGNATURE PaGE

 

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COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 

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Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 67 of 74 PagelID #: 233

Exhibit "A"

FIELD NOTES TO 2022.20 ACRES IN THE B.B.B, & C.R.R. CO. SURVEY ABSTRACT 1536,
ET AL, COOKE COUNTY, TEXAS

All chat certain tract or parcel of land situated in the 8.B B. & C.R.R. Co.
Survey Abstract 156, the J.P. Havins Survey Abstract 455, the C, Hart Survey
Abstract 461, the $.8. Murrell Survey Abstract 1420, the W.H. Donham Survey
Abstract 1479, the 8.B.8. & C.R.R. Co, Survey Abstract 177, the $.—. Clements
Survey Abstract 264, the R. MePatl Survey Abstract 674, the J.N. Wright
Survey Abstract 2535, the J.G. Jones Survey Abstract 1206, the A. Bistan
Survey Abstract 351, the J,8.H, Denham Survey Abstract 1244, the C.£. Fallis
Survey Abstract 1516, the §.B. Murrell Survey Abstract 1491, the David smith
Survey Abstract 173, the Thomas Wright Survey Abstract 1156, the

B, 4. Stanford Survey Abstract 1445, the A. Hodge Survey Abstract 1366, the
J.N. Murrell Survey Abstract 1$25, the B.C. Forbes Suxvey Abstract 1614, the
V.A. Howeth Survey Abstract 1631, the McKinney and Williams Survey Abstract
735, and the Jacob Spears survey Abstract 915, Cooke County, Texas, being all
af a called 1546 acre trant conveyed by Laura Josephine Jones co Frances
Yarbrough by deed recorded in Vokume 225, page 110 of the Cooke Caunty Dead
Records, being a part of a called 530 acre tract described in a dead from
Laura Josephine Jones to Franess Yarbrough recorded in Volume 371, page 3 of
said Deed Records, and being ali of a 0.91 acre tract conveyed by Robert ?.
Lewis, et ux to Paul Yarbrough, et ux by deed recorded in Volume 719, page
629 of said Deed Records, and baing more particularly described as follows:

BEGINNING ak a set steel pin on the West line of said 530 acre tract located
North 00 degrees 06 minutes 46 seconds West, a distance of 62.31 feet from
the Southwest corner of gaid §30 acre tract, on the Northwesterly Line of
P.M. Road 1202 which was the right-ot-way for Mckinley Avenus during the Camp
Howze period, and was granted by the USA to Cenke County by deed recorded in
Volume 322, page 114 of said Deed Records, said point also being the
Southeast corner of a tract conveyed to Mollie Raton by deed recorded in
Volume 1448, page 314 of the Cooke County Official Public Records:

THENCE North 00 degrees 06 minutes 46 saconds West, with the West line of
said Yarbrough tract, along and near a fenca, passing the Northeast corner of
said Mollie Eaton tract, sama being a Seutheast corner of a tract deserthed
in a deed to Karl Trubenbach Land LP recerded in Volume 2043, page 702 of the
Cooke County Official Public Racerds, continuing and passing the Northwest
corner Of said 530 acre tract, same being tha Southwest corner of said 1946
acre tract, continuing with the West line of said 2846 acre tract and passing
a Northeast corner of said Trubenbach Land LP, same baing the Southeast
corner of a tract described in a deed to James Martin Lewis recorded in
Volume 866, pege 144 Of said Daed Recerds, continuing with said West line of
Yarbrough tract and the Bast line of previously said Lewis tract, and Passing
the Lewie tract's Northeast corner, common to the Southeast corner of a tract
described as Exhibit C in a deed to Roberc Lewis, LIL recorded in said Volume
866, page 142 of said Dead Records, continuing and passing the Westernmost
Northwest corner and the North corner of said 0.91 acre tract, {said North
corner being on the Northeast line of a called 20.99 acre tract descrihed in
‘ a deed from W.P. Clements, Jr., Governor of the state of Texas, et al to
Robart T. Lewis, Jr., et ux recorded tn Volume 666, page 421 of said Deed
Records), continuing and passing the Northeast corner of said Robert Lewis
tract, common to the Southeast corner of a tract, described in a dead to

F. Michaé] Sparks recorded in Volume 1404, page 169 of said Public Recards,
continuing with said common line a total distance of 13,649.58 feet to a
square pipe found at, a fence corner at the Nertheast corner of said Sparks
tract, common to the Southeast corner of a tract conveyed to Ken Fomby by
deed recorded in Volume 1139, page 604 of said Public Records;

THENCE North 90 degrees 08 minutes 28 seconds West, along and near a Fence,
continuing with the Wese line of said Yarbrough tract, a distance of

5629,45 feet to a wooden fence cornar at the Northwest corner of said 1546 acre
tract, an the North bine of said wright Survey, common to the South line of

the T. Booker Survey Abstract 72;

Page 1 of 3 annittttiey,

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a MARCIA, GILBERT

DISTRICT CLERK

COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 

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Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 68 of 74 PageID #: 234

BbaB & CRE Co Su
2022.20 «ae, tr. Py. 2 of 3
Abstract 156, et al

THENCE South 84 dagrees 24 minutes 42 seconds East, with said common survey
line, along a fance, a distance of 267.14 feet to the Northwest corner of
said Jones Survey, common to the Northeast corner of sald Wright Survey and
said Yarbrough tract;

THENCE Southeasterly, with the Bast Line of said Yarbrough tract and the
South bank of said Red River as evidenced by the calls in the various survey
patents which bounds the Red River in the Yarbrough deed, the following
courses and distances:
South 34 degrees 41 minutes 44 seconds Bast, a distance of 151.47 feet:
South 25 degrees 43 minutes 04 séecands East, a distance of 172.40 feet:
South 33 degrees 01 minute 58 seconds East, a distance of 250.53 feat;
South 22 degrees 36 minutes 13 seconds Rast, a distance of 265.49 feet;
South 43 degrees 47 minutes 521 seconds East, a distance of 1181.31 feer;
South 34 degrees 06 minutes 03 seconds East, a distance of 700.18 feat:
South 41 degrees 25 minutes 24 seconds East, a distance of 1983.85 feet;
South 39 degrees 56 minutes 49 seconds East, passing the Southeast corner
of said Jones Survey, common to the Northwest corner of said Elston
Survey and continuing 4 total distance of 498.65 feer;
South 36 degrees 32 minutes 15 seconds Bast, a distance of 340.94 feet;
South 38 degrees 4S minutes 04 seconds Bast, a distance of 193.10 feat?
South 39 degrees 00 minutes 39 seconds East, a distance of 989,95 feet
to @ corner on the gradient boundary of the Red River as surveyed by
Nedra Foster, LSLS on February 27019;

THENCE continuing along the gradient boundary the following calls and
distances;
South 39 degrees 32 minutes 10 secund East, a distance of 385.33 Feat
South 36 degrees 08 minutes O07 seconds Bast, a distance of 234,02 feet:
South 38 degrees 10 minutea 44 seconds East, passing the Northeast corner
of said Elston Survey, common to the North corner of said Smith Survey
and continuing a total distance of 297,68 feet;
South 35 dagrees 37 minutes 50 seconds East, a distance of 266.67 feet;
South 35 degrees 41 minutes 43 seconds East, a distance of 253.65 feet;
South 34 degrees 19 minutes 49 seconds Faat, a distance of 148,95 feet;
South 42 degrees 22 minutes 03 seconds East, a distance of 123.17 feet:
South 42 degrees 37 minutes 31 secends East, a distance of 265.24 feet?
South 45 degrees 34 minutes 58 seconds Bast, a distance of 208.61 feet?
South 47 degrees 43 minutes 27 seconds East, a distance of 3232.40 featr
South 52 degrees 07 minutes 30 seconds East, a distance of 262,24 feet?
South 60 degrees 46 minutes 51 seconds East, a distance of 67.60 feet;
South 66 degrees 06 minutes 17 seconds Bast, a distance of 172.92 feet .
to the Northeast cornexy of said Yarbrough tract, on the West line of the
G.C, & $.F. Hailroad;
THENCE Southerly, with the fast line of sald Yarbrough tract, common to the
West lina of said railroad, the fellowing courses and distances:
South 36 deyrees 08 minutes 23 seconds West, a distance of 546.05 feet
to a set ateel pin at tha beginning of a curve;
Southwesterly, 1767.07 feet along a curve to the left having a radius
of 1995.08 feet and a chord of South 10 degrees 38 minutes 08 seconds
West, a distance of 1709.47 feet to a set ateel pin at the end of said
curve;
South 14 degrees 52 minutes 08 seconds East, a distance of 500.86 feet
to a set steel pin at the beginning of a curve;
Southeasterly, 5.98.85 feet along a curve to the right having a radius of
1935.08 feet and a chord of South 05 degrees 31 minutes 08 saconds East,
a@ distance of 596.27 feet to a set steel pin at the end of said curve;
South 03 degrees 49 minutes 52 seconds West, a distance of 1993.14 feet
to a set steel pin at the beginning of a curva;
Southeasterly, 641.26 faet along a curve to the left having a radius
of 2939.93 feet and a chord of South 02 degrees 25 minutes 08 seconds
Fast, a distance ef 640,12 feet to a set staal pin at the end of said
curve;
South 0€ degrees 40 minutes 08 seconds Bast, a distance of 504.80 feet
to a set steel pin at the beginning of a curve;

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Fete: A CERTIFIED COPY
far ER MARCI A. GILBERT
i DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CDDY SHIRES, Deputy

      
Case 4:19-cv-00651 Document1-2 Filed 09/09/19 Page 69 of 74 PagelID #: 235

BEB & CRR Co Se
2022.20 ac. tr. Og. Joka
Abetract 256, et al

Southeasterly, 722.25 feet along a curve to the right having a radius

of 2789,93 feet and a chord of South 91 degree 15 minutes 08 seconds

East, a distance of 720.27 feet to a set steel pin at the end of said

curve;

South 06 degrees 09 minutes 52 seconds West, a distance af 2316.98 Feet

to a set steel pin at the beginning of a curve;

Southeasterly, 692.67 feet along a curve to the left having 4 tadius of

2939.93 Feet and a chord of South 00 degrees 35 minutes 0@ seconds East,

a distance of 691.10 feet te a sat steel pin at the end of said curva;

South O07 degrees 20 minutes 08 seconds East, a distance of 1842.51 feet

CG a set steel pin at the beginning of a curve;

Southeasterly, 689.79 feet along a curve to the night having a radius

of 2789.93 feet and a chord of South 00 degrees 15 minutes 0@ seconds

East, a distance of 649.07 feet to a set steel pin at the end of enid

cbeve;

South 06 degrees 49 minutes 52 seconds Wast, a distance of 263.34 feat
to a set steel pin at a fence corner at the Southeast corner of said
Yaxbrough tract;

THENCE North 67 degrees 39 minutes 26 seconds West, with the South line
of said tract, # distance of 5344.51 feet te a sat steel pin on the
Northeastern line of said P.M. Road 1202;

THENCE Nerth 25 degrees 30 minutes 43 seconds West, with said Northeastern 7
Line, crossing an access easement roadway, and continuing a total distance
of 80.97 feet to a set stee) pin near 6 power pole; ‘

THENCE South 64 degrees 22 minutes 17 seconds West, with the Northwestern
line of said P.M, Road 1202, a distance of 19.9] feet to the point of
beginning containing 2022,20 acres of land.

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A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
CODKE COUNTY, TEXAS
By. CODY SHIRES, Deputy

     

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Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 70 of 74 PageID #: 236

KRESS AND EXCEPT THE FOLLOWING TRACT:

FIELD NOTES TO 29,71 ACRES IN THE JACOB SPEARS SURVEY ABSTRACT 915,
ET Al, COOKE COUNTY, TEXAS .

All that certain tract or parcel of land situated in the V.A. Howeth
Burvey Abstract 1631, and the Jacob Spears Survey Abstract 915, Cooke
county, Texas, being all of a called 30 acre tract described in a deed
from A. M. Burch to Gainesville Gun 6 Rod Club recorded. in Volume 82,
page 131 of the Cocke County Deed Records, and being more particularly
described as follows:

BEGINNING at a set steel pin in a found pile of stone at the South corner
of said 30 acre tract, said corner being located North 87 degrees

39 minutes 26 seconds West a distance of 1715.30 feet and Nerth 02 degrees
20 minutes 34 seconds Bast a distance of 6.92 feet from the Southeast
corner Gf a tract described in a deed to Frances Yarbrough recorded in
Volume 325, page 110 of said Deed Records;

THENCE North 18 degrees 01 minute 19 seconds West, near a fence, a
distance of 773.25 feet to a set steel pin in a found pile of stone at the
Northwest corner of said 30 acre tract;

THENCE North 73 degrees 43 minutes 59 seconds Bast, néar a fence partway,
a distance of 1866.33 ‘feet to a set steal pin in a found pile of stone at
the Wortheast corner of sald 30 acre tract;

THENCE South 13 degrees 57 minutes 34 seconds East, along and near a
fence, a diatance of 437.53 feet toa set steel pin at the Basternmost
Southeast corner of said 30 acre tract;

THENCE South 25 degreas 51 ninutes 21 seconds West, a distance of
313.39 feet to a set steel pin at the Southernmost Southeast corner
of said 30 acre tract;

THENCE South 70 degrees 04 minutes 27 seconds West, with the South Line
of said 30 acte tract, a distanca of 1618.14 feet to the point =
beginning containing 29.71 acres of land.

GAINESVILLE GUN & ROD CLUS

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 71 of 74 PageID #: 237

LESS AND EXCEPT THE FOLLOWING TRACT:

FIELD NOTES TO 11.41 ACRES IN THE B.B.B. & C.R.R. CO. SURVEY AGSTRACT 156,
Ef AL, COOKE COUNTY, TEXAS

All that certain tract or parcel of land situated in the B.B.B. & C.R:R. Ce.
Survey Abstract 156 and the J. P. Havins Suxvey Abstract 455, Cooke county,
Texas, being all of a tract deseribed as Water Well Site No, 2 in a deed from
The United States of America to the City of Gainesville recorded in Volume 366,
page 625 of the Cooke County Deed Records, and all of a tract conveyed by
Parker Yarbrough, et al to City of Gainesville by deed recorded in Volume 1081,
page 331 of the Cooke County Official Public Records and being more
particularly described as follows:

BEGINNING at a found steel pin at the Northwest corner of said Water Well Site

No. 2, said beginning corner further being located North 00 degrees 06 minutes

46 seconds West, a distance of 770.21 feet and North 99 degrees 53 minutes

14 seconds Bast, a distance of 141.14 feet from the Southwest corner of a tract
described in a deed to Frances Yarbrough recorded in Volume 371, page 3 of said
Deed Records;

THENCE North 64 degrees 30 minutes 33 seconds East, with the North line of said
Water Well Site Ne. 2, a distance of 77.28 feet to a found steel pin at a West
comner of said Yarbrough to City of Gainesville tract; ‘

THENCE North 25 degrees 27 minutes 13 seconds Bast, a distance of 454.63 Feet
to a found steel pin at the Northernmost Northwest corner of said Yarbrough
to City of Gainesville tract;

TRENCE North 69 degrees 31 minutes 59 seconds East, a distance of 478.58 feet
to a found steel pin at the Northeast corner of said Yarbrough to City, of
Gainesville tract;

THENCE South 20 degrees 21 minutes 59 seconds Bast, a distance of 654.74 feet
to @ found steel pin at the Southeast corner of sald Yarbrough to City of
Gainesville tract;

THENCE South 69 degrees 37 minutes 25 seconds West, a distance of 673.56, feet
to a fence corner at. the Sowthernmost Southwest corner of said Yarbrough to
City of Gainesville tract, common te the Southeast corner of said Water Well
Site Ne. 2}

THENCE South 64 degrees 36 minutes 26 seconds West, with the South line of said
Water Well Site No. 2, a,distance of 178.00 feet to a found steel pin at the
Southwest corner of said Water Well site.No. 2; : .

THENCE North 25 degrees 26 minutes 27 seconds West, a distance of 347.14 feet
.to the point of beginning containing 11.41 acres of land.

CITY OF GAINESVILLE WATER WELL SITE NO, 2

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
CGOKE COUNTY, TEXAS

   

 

By: CODY SHIRES, Deputy |
Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 72 of 74 PagelID #: 238

Exhibit "A"
Txace Two:

FIELD NOTES TO 133.77 ACRES OF ACCRETED LAND IN COOKE COUNTY, TEXAS

All that certain tract or parcel of land situated in Cooke County, Taxas
being accreted land lying between the patented land of the J.G. Jones Survey
Abstract 1206 and the A. Elston Survey Abstract 351 and the present Gradient
Boundary of the Red River ag surveyed by Nedra Foster, LSLS on February 2018
and being more particularly described as follows:

BEGINNING at a gat capped steel pin at the Northwest corner of the said
Jones Survey, common to the Northeast corner of the J. N. Wright Survey
Abstract 1325, on the South line of the T. Booker Survey Abstract 72, at
the Northernmost Northeast corner of a 1546 acre tract of land conveyed by
Laura Josephine Jones to Frances Yarbrough by deed recorded in Volume 325,
page 110 of the Cooke County Deed Records;

THENCE South 89 degrees 24 minutes 42 seconds East, with the projected North
line of said Sooker Survey, a distance of 1482.97 feet ta a eorner on the said
Gradient Boundary on the Red River as surveyed by Nedra Fegter, LSLS on
February, 2018;

THENCE Southeasterly, along said gradient baundary, the follewing courses
and distances:
South 53 degrees 58 minutes 21 seconds East for a distance of $1.40 feet
to a cernex:
South 45 degrees 17 minutes 93 seconds East for a distance of 427.80 feet
to a corner;
South 60 degrees 28 minutes 15 veconds East for a distance of 691.87 feet
to & corner;
South 27 degrees 10 minutes 46 seconds Bast for a distance of 834.10 feet
to a corner;
South 27 degrees 24 minutes 53 seconds Bast for 8 distance of 764.05 feat
to a corner;
South 42 degrees 03 minutes 52 seconds East for a distante of 110.45 feet
ta a corner; - .
Sauth 24 degrees 14 minutes 12 aacaonds East for a distance of 297.20 feet
to a corner;
South 18 degrees 40 minutes 346 gsaconds Bast for a distance of 299.79 feet
to a cornex;
South 11 degrees 16 minutes 26 secands Bast for a distance of 312.02 feat
to @ corner;
South 00 degrees 25 minutes 20 seconds West for a distance of 407.01 feet
to a corner;
South 66 degrees 42 minutes 14 seconds West for a distance of 52,39 feet
ta a corner? “
North 89 degrees 32 minutes 43 seconds West for a distance of 126.00 fest
to a corner;
North 24 degrees 20 minutes 26 seconds West for a distance of 46.10 feet
toe, a corner;
South 60 degrees 48 minutes 09 seconds Wast for a distance of 39.95 feet
to a corner; ° ° ,
South 45 degrees 59 minutes 16 seconds West for a distance of 82.04 feet
to a corner;
South 32 degrees 17 minutes 35 seconda West for a distance of 59.68 feet
to a corner?
South 06 degrees 34 minutes 55 seconds Raat for a distance of 52.35 feet
ta a@ corner;
South 63 dagreas 26 minutes 06 seconds East fer s distance of 35.78 feat
to & corner;
South 04 degreas 14 minutes 11 sscond# Weet for a distance of 27.07 feet
ta a corner;
South 57? degrees 22 minutes 51 seconds West for a distance of 29,68 Feet
to a corner: .
South 65 degrees 11 minutes 40 seconds Hast For a distance of 22,09 feet
to & corner;

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A CERTIFIED COPY
MARCI A. GILBERT
Fo; } DISTRICT CLERK
$3 f.2 COOKE COUNTY, TEXAS
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“agate By: CODY SHIRES, Deputy

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Case 4:19-cv-00651 Documenti1-2 Filed 09/09/19 Page 73 of 74 PagelD #: 239

Accreted land pg. 2 of 2

South 48 degrees 27 minutes 24 seconds East For a distance of 105,

corner;

South 35 degrees 45 minutes 14 seeonds West for a distance of
to 4 Corner;

South 06 degreas 06 minutes $6 seconds East for a distance of
ta a corner;

South 36 degrees 15 minutes 14 seconds Bast for a distance of
to 8 corner;

South ¥2 degrees 15 minutes 19 seconds Bast for a distance of
to a corner;

South 33 degrees 06 minutes 41 seconds West for a distance of
to a corner;

South 15 degrees 31 minutes 27 seconds East for a distance of
fa 4 corner?

South 40 degrees 14 minutes 11 seconds East for a distance of
fo a corner;

South 55 degrees 54 minutes 18 seconds Gast for a distance of
fa a corner?

South 24 degrees 23 minutas 58 seconds East for a distance of
to a corner;

South 62 degrees 48 minutes 07 seconds East for a distance of
to a corner;

South 10 degrees 22 minutes 33 seconds Bast for a distance of
to @ corner;

South 45 degrees 00 minutes 00 seconds East for 4 distance of
to a corner;

South 39 degrees 24 minutes 02 seconds East for a distance of
te @ corner;

South 63 degroes 01 minutes 11 seconds East for a distance of
to a corner;

South 51 degrees 06 minutes 56 seconds East for a distance of
to a corner;

South 21 degrees 5? minutes 36 seconds East for a distance of
to a cornar;

South 16 degreés 19 minutes 37 seconds East for a distance of
to a corner;

South 12 degrees O1 minutes 50 seconds East for a distance of
to a corner;

South 65 degrees 46 minutes 20 secands West for a distance of
ta a corner on tha Northaast line of the A. Elston Survey Abstract
to the Northeast line of said Jones to Yacbrough tract:

55 feet to a
30,861 Feet
84,48 feet
37,20 feet
78.75 feet
82.38 feet
37.36 feet
85.15 feet
78.49 feet
106.31 feet
89.95 feet
72,18 feet
43.44 feet
72,47 Feet,
61.72 feet
39.82 feat
66.85 feet
206.32 feet
62.37 feet

21,93 feet
351, commen

Northwesterly, with the Northeasterly line of said Elston Survey and the

J. G, Jones Survey Abstract 1206 as patented the foliowing courses
distances;

North 42 degrees 55 minutes 30 seconds West for a distance of
to a corner;

North 39 degrees 00 minutes 39 seconds West for a distance of
to @& corner:

Werth 38 degrees 45 minutes 04 seconds West for a distance of
to a corner;

North 36 degrees 32 minutes 15 seconds West for a distance of
ta 4 corners

Nerth 39 degrees 56 minutes 49 seconds Weat for a distance of
to a corner?

North 41 degrees 25 minutes 24 seconds Wost for a distance of
ko a corner}

North 34 degrees 06 minutes 03 aecands West for a distance of
to a corer;

North 43 deqrees 47 minutes 51 saconds West for a distance of
to a corner;

North 22 degre¢s 36 minutes 13 seconds West for a distance of
to a corner;

and

310.24 feet
A89.95 feet
193.10 feet
340.94 feat

698.65 feat

‘1083.85 feet

700.19 feet
1181.31 feet

265.49 feet

North 33 degrees 01 minute 58 secends West for a distance of 250.52 feet

to a corner;

North 25 deqrees 43 minutes 04 seconds West for a distance of
to a corner;

North 34 dagreea 41 minutes 44 saconds West fer a distance of
ta the point of beginning and containing 123.77 acres of land,

172.40 feet

151.47 feet

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A CERTIFIED COPY

MARCI A, GILBERT

DISTRICT CLERK
COOKE COUNTY, TEXAS
By’ CODY SHIRES, Deputy

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Case 4:19-cv-00651 Document 1-2 Filed 09/09/19 Page 74 of 74 PageID #: 240

EXHIBIT
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fay a MARCI A. GILBERT
et igi DISTRICT CLERK
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eG ee By: COOY SHIRES, Deputy
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